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                       EXHIBIT 13
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NAME              ARENDALL, ELBERT              SHERLOCK_SPECIALTY     SNE

PRESCRIBER_ID     32416898                      AMA_SPECIALTY


SALES CALLS


 CALL_DATE                  10/13/1999    CALL_ID           92286559         CALL_TYPE       Detail and Starter


 TERRITORY             PD                   REP_NAME            N/A             CALL_ADDRESS:       2400 PATTERSON ST. SUITE 203
                                                                                                    NASHVILLET, TN 37203


 CALL_NOTES                                            AE_NOTES                                     MI_NOTES



 CALL_DATE                    2/9/2000    CALL_ID           93133884         CALL_TYPE       Detail Only


 TERRITORY             PD                   REP_NAME            N/A             CALL_ADDRESS:       4230 HARDING RD 709
                                                                                                    NASHVILLE, TN 37205


 CALL_NOTES                                            AE_NOTES                                     MI_NOTES



 CALL_DATE                   3/16/2000    CALL_ID           93472275         CALL_TYPE       Detail Only


 TERRITORY             PD                   REP_NAME            N/A             CALL_ADDRESS:       4230 HARDING RD 709
                                                                                                    NASHVILLE, TN 37205


 CALL_NOTES                                            AE_NOTES                                     MI_NOTES



 CALL_DATE                   8/15/2000    CALL_ID           94685637         CALL_TYPE       Detail Only


 TERRITORY             PD                   REP_NAME            N/A             CALL_ADDRESS:       4230 HARDING RD 709
                                                                                                    NASHVILLE, TN 37205


 CALL_NOTES                                            AE_NOTES                                     MI_NOTES




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NAME              ARENDALL, ELBERT      SHERLOCK_SPECIALTY   SNE

PRESCRIBER_ID     32416898              AMA_SPECIALTY

SAMPLES

   CALL_DATE          CALL_ID            CODE                  FORMULATION                   QUANTITY
      10/13/1999 92286559             7710        Neurontin 300mg x 3 x 6 x 12                      36
      10/13/1999 92286559             7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)           15




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NAME                   BERKMAN, RICHARD               SHERLOCK_SPECIALTY       SNE

PRESCRIBER_ID          23268138                       AMA_SPECIALTY            SNE


SALES CALLS


 CALL_DATE                          6/3/2003    CALL_ID           23611900001216       CALL_TYPE       Detail Only


 TERRITORY                      3NU11M13          REP_NAME            3NU11M13, Vacant    CALL_ADDRESS:       2400 Patterson Street
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                        MI_NOTES
 Not very rep friendly, yet!!


 CALL_DATE                          7/1/2003    CALL_ID           23648500003352       CALL_TYPE       Literature Drop Only


 TERRITORY                      3NR11M13          REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:       1161 21st Ave S
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                        MI_NOTES
 Dr. Berkman was not seeing reps today.


 CALL_DATE                          4/2/2004    CALL_ID           28487400002640       CALL_TYPE       Detail and Starter


 TERRITORY                      3NU22B13          REP_NAME            Hardin, Robert      CALL_ADDRESS:       2400 Patterson Street
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                        MI_NOTES


SAMPLES

   CALL_DATE          CALL_ID                          CODE                  FORMULATION                     QUANTITY
        4/2/2004 284874000026401                    7710        Neurontin 300mg x 3                                 60




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NAME                  Brumley, Miriam                      SHERLOCK_SPECIALTY        ANS

PRESCRIBER_ID         33307000062673                       AMA_SPECIALTY             NPR


SALES CALLS


 CALL_DATE                       8/21/2002    CALL_ID                  68998000095434       CALL_TYPE       Detail Only


 TERRITORY                   K1H12               REP_NAME                  Pippin, Ashley      CALL_ADDRESS:       1916 Patterson St
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                          MI_NOTES



 CALL_DATE                       9/13/2002    CALL_ID                  68998000107249       CALL_TYPE       Detail and Starter


 TERRITORY                   K1H12               REP_NAME                  Pippin, Ashley      CALL_ADDRESS:       1916 Patterson St
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                          MI_NOTES



 CALL_DATE                       10/9/2002    CALL_ID                  68998000116271       CALL_TYPE       Detail and Starter


 TERRITORY                   K1H12               REP_NAME                  Pippin, Ashley      CALL_ADDRESS:       1916 Patterson St
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                          MI_NOTES
 K1H12 / reinterate the benefits of celebrex and bextra,
 nerontin


 CALL_DATE                     10/23/2002     CALL_ID                  68998000124664       CALL_TYPE       Detail and Starter


 TERRITORY                   K1H12               REP_NAME                  Pippin, Ashley      CALL_ADDRESS:       1916 Patterson St
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                          MI_NOTES




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NAME              Brumley, Miriam               SHERLOCK_SPECIALTY        ANS

PRESCRIBER_ID     33307000062673                AMA_SPECIALTY             NPR



 CALL_DATE                  10/23/2002    CALL_ID           68998000129076        CALL_TYPE       Detail and Starter


 TERRITORY              K1H12               REP_NAME            Pippin, Ashley       CALL_ADDRESS:       1916 Patterson St
                                                                                                         Nashville, TN 37203


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                   11/8/2002    CALL_ID           50590000132043        CALL_TYPE       Detail and Starter


 TERRITORY              E3B21               REP_NAME            Capasso, Regina      CALL_ADDRESS:       1916 Patterson St
                                                                                                         Nashville, TN 37203


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                  11/12/2002    CALL_ID           68998000134974        CALL_TYPE       Detail and Starter


 TERRITORY              K1H12               REP_NAME            Pippin, Ashley       CALL_ADDRESS:       1916 Patterson St
                                                                                                         Nashville, TN 37203


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                  11/25/2002    CALL_ID           50591000000818        CALL_TYPE       Detail and Starter


 TERRITORY              E3B21               REP_NAME            Capasso, Regina      CALL_ADDRESS:       1916 Patterson St
                                                                                                         Nashville, TN 37203

 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                   12/6/2002    CALL_ID           68998000145823        CALL_TYPE       Detail and Starter


 TERRITORY              K1H12               REP_NAME            Pippin, Ashley       CALL_ADDRESS:       1916 Patterson St
                                                                                                         Nashville, TN 37203


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES


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NAME              Brumley, Miriam              SHERLOCK_SPECIALTY        ANS

PRESCRIBER_ID     33307000062673               AMA_SPECIALTY             NPR



 CALL_DATE                  1/28/2003    CALL_ID           68998000172996       CALL_TYPE       Detail and Starter


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:       1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                         MI_NOTES



 CALL_DATE                   2/5/2003    CALL_ID           68998000176013       CALL_TYPE       Detail and Starter


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:       1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                         MI_NOTES



 CALL_DATE                  2/11/2003    CALL_ID           68998000181163       CALL_TYPE       Detail and Starter


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:       1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                         MI_NOTES



 CALL_DATE                   3/6/2003    CALL_ID           68998000190074       CALL_TYPE       Detail Only


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:       1916 Patterson St
                                                                                                       Nashville, TN 37203

 CALL_NOTES                                           AE_NOTES                                         MI_NOTES



 CALL_DATE                  3/12/2003    CALL_ID           68998000193477       CALL_TYPE       Detail and Starter


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:       1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                         MI_NOTES
                                                                                                       Please send any and all information concerning the use of
                                                                                                       Neurontin at dosages above 1800 mg.
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NAME              Brumley, Miriam              SHERLOCK_SPECIALTY        ANS

PRESCRIBER_ID     33307000062673               AMA_SPECIALTY             NPR



 CALL_DATE                  3/20/2003    CALL_ID           68998000199364        CALL_TYPE       Detail and Starter


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley       CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                          MI_NOTES



 CALL_DATE                   4/7/2003    CALL_ID           68998000205467        CALL_TYPE       Detail and Starter


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley       CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                          MI_NOTES



 CALL_DATE                  4/11/2003    CALL_ID           68998000209019        CALL_TYPE       Detail and Starter


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley       CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                          MI_NOTES



 CALL_DATE                  4/17/2003    CALL_ID           68998000210497        CALL_TYPE       Detail and Starter


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley       CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203

 CALL_NOTES                                           AE_NOTES                                          MI_NOTES



 CALL_DATE                  4/18/2003    CALL_ID           20922300001261        CALL_TYPE       Detail Only


 TERRITORY              3PB16A15           REP_NAME            Capasso, Regina      CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                          MI_NOTES


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NAME              Brumley, Miriam              SHERLOCK_SPECIALTY        ANS

PRESCRIBER_ID     33307000062673               AMA_SPECIALTY             NPR



 CALL_DATE                  4/25/2003    CALL_ID           20922300001419        CALL_TYPE       Detail and Starter


 TERRITORY              3PB16A15           REP_NAME            Capasso, Regina      CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                          MI_NOTES



 CALL_DATE                  4/29/2003    CALL_ID           68998000211820        CALL_TYPE       Detail and Starter


 TERRITORY              K1H12              REP_NAME            Pippin, Ashley       CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                          MI_NOTES



 CALL_DATE                  5/23/2003    CALL_ID           23611900000498        CALL_TYPE       Detail Only


 TERRITORY              3NU11M13           REP_NAME            3NU11M13, Vacant     CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                          MI_NOTES



 CALL_DATE                  5/30/2003    CALL_ID           23648500000745        CALL_TYPE       Detail and Starter


 TERRITORY              3NR11M13           REP_NAME            3NR11M13, Vacant     CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203

 CALL_NOTES                                           AE_NOTES                                          MI_NOTES



 CALL_DATE                  6/20/2003    CALL_ID           23648500002366        CALL_TYPE       Detail Only


 TERRITORY              3NR11M13           REP_NAME            3NR11M13, Vacant     CALL_ADDRESS:       1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                          MI_NOTES


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NAME                  Brumley, Miriam                    SHERLOCK_SPECIALTY      ANS

PRESCRIBER_ID         33307000062673                     AMA_SPECIALTY           NPR



 CALL_DATE                       6/26/2003    CALL_ID                24309600001527     CALL_TYPE       Detail and Starter


 TERRITORY                   3NU11M13            REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:      1916 Patterson St
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                       MI_NOTES
 Mim told me today that UCB (Keppra) is really putting the
 pressure on to switch Neurontin patients to Keppra. She
 said their big reason was that Keppra works as well as
 Neurontin without the lower extremity edema. Mim said the
 Neurontin is still 1st line and will only use Keppra as back
 up.


 CALL_DATE                       7/11/2003    CALL_ID                25318000000296     CALL_TYPE       Detail Only


 TERRITORY                   3NU11M13            REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:      1916 Patterson St
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                       MI_NOTES
 very busy


 CALL_DATE                       7/24/2003    CALL_ID                25318000001448     CALL_TYPE       Detail and Starter


 TERRITORY                   3NU11M13            REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:      1916 Patterson St
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                       MI_NOTES
 Mim told me toady that she had tried Keppra and was not
 impressed and that Neurontin remains her 1st choice


 CALL_DATE                       8/11/2003    CALL_ID                23648500007069     CALL_TYPE       Detail and Starter


 TERRITORY                   3NR11M13            REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:      1916 Patterson St
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                       MI_NOTES
 Seems a little hesitate to use higher doses of Neu. Gave
 her a copy of the RIce study.




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NAME                  Brumley, Miriam            SHERLOCK_SPECIALTY       ANS

PRESCRIBER_ID         33307000062673             AMA_SPECIALTY            NPR



 CALL_DATE                      9/11/2003   CALL_ID          23648500009762       CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13         REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:        1916 Patterson St
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES
 Neurontin pt. assistance question.


 CALL_DATE                      9/19/2003   CALL_ID          25318000006335       CALL_TYPE        Detail Only


 TERRITORY                  3NU11M13         REP_NAME            3NU11M13, Vacant    CALL_ADDRESS:        1916 Patterson St
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES
 Quick Neurontin mention today very busy


 CALL_DATE                      10/9/2003   CALL_ID          23648500012441       CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13         REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:        1916 Patterson St
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES
 They all love Neurontin.


 CALL_DATE                     10/24/2003   CALL_ID          23648500013771       CALL_TYPE        Detail Only


 TERRITORY                  3NR11M13         REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:        1916 Patterson St
                                                                                                          Nashville, TN 37203

 CALL_NOTES                                             AE_NOTES                                          MI_NOTES



 CALL_DATE                     10/31/2003   CALL_ID          28487400000079       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B13         REP_NAME            Hardin, Robert      CALL_ADDRESS:        1916 Patterson St
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES


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NAME                Brumley, Miriam                SHERLOCK_SPECIALTY       ANS

PRESCRIBER_ID       33307000062673                 AMA_SPECIALTY            NPR



 CALL_DATE                     12/4/2003    CALL_ID            20922300009673        CALL_TYPE        Detail Only


 TERRITORY                 3PB16A15             REP_NAME           Capasso, Regina      CALL_ADDRESS:        1916 Patterson St
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                          MI_NOTES



 CALL_DATE                     12/5/2003    CALL_ID            27781200000670        CALL_TYPE        Detail and Starter


 TERRITORY                 3NU22B53             REP_NAME           Ross, Janet          CALL_ADDRESS:        1916 Patterson St
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                          MI_NOTES
 She loves Neurontin and said keep in coming.


 CALL_DATE                    12/12/2003    CALL_ID            28487400000635        CALL_TYPE        Detail Only


 TERRITORY                 3NU22B13             REP_NAME           Hardin, Robert       CALL_ADDRESS:        1916 Patterson St
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                          MI_NOTES



 CALL_DATE                      1/8/2004    CALL_ID            28487500000008        CALL_TYPE        Detail Only


 TERRITORY                 3NU22B13             REP_NAME           Hardin, Robert       CALL_ADDRESS:        1916 Patterson St
                                                                                                             Nashville, TN 37203

 CALL_NOTES                                                AE_NOTES                                          MI_NOTES



 CALL_DATE                     1/12/2004    CALL_ID            20922300010698        CALL_TYPE        Detail and Starter


 TERRITORY                 3PB16A15             REP_NAME           Capasso, Regina      CALL_ADDRESS:        1916 Patterson St
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                          MI_NOTES


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NAME                  Brumley, Miriam                    SHERLOCK_SPECIALTY       ANS

PRESCRIBER_ID         33307000062673                     AMA_SPECIALTY            NPR



 CALL_DATE                       1/15/2004     CALL_ID               27781200001467     CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B53             REP_NAME               Ross, Janet       CALL_ADDRESS:        1916 Patterson St
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                         MI_NOTES
 L- she is leaving tomorrow to work full time at Vanderbilt,
 she will continue to work here but only 2 days per month.

SAMPLES
   CALL_DATE          CALL_ID                           CODE                    FORMULATION                    QUANTITY
       9/13/2002 68998000107249                      7713          Neurontin 800mg x 3                               144
       9/13/2002 68998000107249                      7710          Neurontin 300mg x 3                               216
      10/23/2002 68998000129076                      7710          Neurontin 300mg x 3                                72
       11/8/2002 50590000132043                      7712          Neurontin 600mg x 3                                30
      11/12/2002 68998000134974                      7710          Neurontin 300mg x 3                               144
      11/12/2002 68998000134974                      7709          Neuronin 100mg x 10 Unidose                        30
      11/25/2002 50591000000818                      7710          Neurontin 300mg x 3                                72
       12/6/2002 68998000145823                      7710          Neurontin 300mg x 3                                72
       1/28/2003 68998000172996                      7710          Neurontin 300mg x 3                               144
        2/5/2003 68998000176013                      7713          Neurontin 800mg x 3                                72
        2/5/2003 68998000176013                      7712          Neurontin 600mg x 3                                72
       3/20/2003 68998000199364                      7712          Neurontin 600mg x 3                                72
       3/20/2003 68998000199364                      7710          Neurontin 300mg x 3                                72
        4/7/2003 68998000205467                      7710          Neurontin 300mg x 3                                72
       4/11/2003 68998000209019                      7712          Neurontin 600mg x 3                                22
       4/11/2003 68998000209019                      7710          Neurontin 300mg x 3                               144
       4/17/2003 68998000210497                      7710          Neurontin 300mg x 3                               144
       4/25/2003 209223000014192                     7713          Neurontin 800mg x 3                                72
       5/30/2003 236485000007454                     7710          Neurontin 300mg x 3                                36
       6/26/2003 243096000015270                     7715          Neurontin 100mg x 3                                24
       6/26/2003 243096000015270                     7710          Neurontin 300mg x 3                                72
       7/24/2003 253180000014486                     7710          Neurontin 300mg x 3                                60
       9/11/2003 236485000097625                     7710          Neurontin 300mg x 3                                72
       10/9/2003 236485000124418                     7713          Neurontin 800mg x 3                                18
      10/31/2003 284874000000798                     7710          Neurontin 300mg x 3                                72

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NAME              Brumley, Miriam          SHERLOCK_SPECIALTY   ANS

PRESCRIBER_ID     33307000062673           AMA_SPECIALTY        NPR


   CALL_DATE          CALL_ID               CODE                  FORMULATION             QUANTITY
       12/5/2003 277812000006706         7710        Neurontin 300mg x 3                         72
       1/15/2004 277812000014675         7712        Neurontin 600mg x 3                         36




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NAME                  Charitat, Maurice                    SHERLOCK_SPECIALTY      INM

PRESCRIBER_ID         23350667                             AMA_SPECIALTY           ANS


SALES CALLS


 CALL_DATE                        7/18/2003     CALL_ID                23648500004819     CALL_TYPE        Detail and Starter


 TERRITORY                    3NR11M13             REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                       MI_NOTES
 New pain doctor - will be at Culclasure's office most of the
 time.


 CALL_DATE                        8/11/2003     CALL_ID                23648500007067     CALL_TYPE        Detail and Starter


 TERRITORY                    3NR11M13             REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                       MI_NOTES
 Gave me his titration schedule. He is willing to go to 5,000 if
 needed. Showed him the Rice study. From Knoxville - really
 likes Terri James.


 CALL_DATE                        9/15/2003     CALL_ID                25318000005926     CALL_TYPE        Detail Only


 TERRITORY                    3NU11M13             REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                       MI_NOTES
 Brief intorduction today


 CALL_DATE                        9/19/2003     CALL_ID                25318000006341     CALL_TYPE        Detail Only

 TERRITORY                    3NU11M13             REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                       MI_NOTES
 Dr Charitat seems very nice and said he loves Neurontin




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NAME                  Charitat, Maurice                  SHERLOCK_SPECIALTY       INM

PRESCRIBER_ID         23350667                           AMA_SPECIALTY            ANS



 CALL_DATE                       10/9/2003    CALL_ID                23648500012446        CALL_TYPE        Detail Only


 TERRITORY                   3NR11M13            REP_NAME                3NR11M13, Vacant     CALL_ADDRESS:        1916 Patterson Street
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                           MI_NOTES
 He thinks he's seeing more AE's with Neu. He uses it with
 Gabetril now.


 CALL_DATE                      10/17/2003    CALL_ID                23648500013155        CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13            REP_NAME                3NR11M13, Vacant     CALL_ADDRESS:        1916 Patterson Street, Suite 105
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                           MI_NOTES
 Great discussion about Gabitril - he uses it in combo with
 Neurontin. He said he has seen an increased incidence of
 AE's with Neu. lately and is afraid to push the dose in most
 people.


 CALL_DATE                      10/24/2003    CALL_ID                23648500013783        CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13            REP_NAME                3NR11M13, Vacant     CALL_ADDRESS:        1916 Patterson Street, Suite 105
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                           MI_NOTES
 Said he had written 3 Neurontin scripts this morning.


 CALL_DATE                       1/12/2004    CALL_ID                20922300010709        CALL_TYPE        Detail and Starter


 TERRITORY                   3PB16A15            REP_NAME                Capasso, Regina      CALL_ADDRESS:        1916 Patterson Street, Suite 105
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                           MI_NOTES




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NAME                  Charitat, Maurice                 SHERLOCK_SPECIALTY       INM

PRESCRIBER_ID         23350667                          AMA_SPECIALTY            ANS



 CALL_DATE                       2/27/2004     CALL_ID              27781200002825        CALL_TYPE        Detail Only


 TERRITORY                   3NU22B53           REP_NAME                Ross, Janet          CALL_ADDRESS:        1916 Patterson Street, Suite 105
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                            MI_NOTES
 L - reminded him about the split tabs F- clinical showing
 good side effect profile


 CALL_DATE                       3/12/2004     CALL_ID              27781200003049        CALL_TYPE        Detail Only


 TERRITORY                   3NU22B53           REP_NAME                Ross, Janet          CALL_ADDRESS:        1916 Patterson Street, Suite 105
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                            MI_NOTES
 L- he's going back to Knoxville in 60 days.


 CALL_DATE                       3/18/2004     CALL_ID              28487400002431        CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B13           REP_NAME                Hardin, Robert       CALL_ADDRESS:        1916 Patterson Street, Suite 105
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                            MI_NOTES



 CALL_DATE                       3/24/2004     CALL_ID              31895700000262        CALL_TYPE        Detail Only


 TERRITORY                   3PB16A15           REP_NAME                Capasso, Regina      CALL_ADDRESS:        1916 Patterson Street, Suite 105
                                                                                                                  Nashville, TN 37203

 CALL_NOTES                                                   AE_NOTES                                            MI_NOTES



 CALL_DATE                        4/9/2004     CALL_ID              27781200003513        CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B53           REP_NAME                Ross, Janet          CALL_ADDRESS:        313 N.Main St.
                                                                                                                  Ashland City, TN 37015

 CALL_NOTES                                                   AE_NOTES                                            MI_NOTES

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NAME              Charitat, Maurice          SHERLOCK_SPECIALTY   INM

PRESCRIBER_ID     23350667                   AMA_SPECIALTY        ANS


SAMPLES

   CALL_DATE          CALL_ID                 CODE                  FORMULATION             QUANTITY
       7/18/2003 236485000048193           7710        Neurontin 300mg x 3                         72
      10/17/2003 236485000131550           7713        Neurontin 800mg x 3                         18
      10/24/2003 236485000137830           7710        Neurontin 300mg x 3                         48
       3/18/2004 284874000024313           7710        Neurontin 300mg x 3                         72
        4/9/2004 277812000035136           7710        Neurontin 300mg x 3                         72




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NAME              Clinton, Mary               SHERLOCK_SPECIALTY        NEU

PRESCRIBER_ID     23219838                    AMA_SPECIALTY             NEU


SALES CALLS


 CALL_DATE                   10/9/2001   CALL_ID          20011000030399       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES
                                                                                                       Please send any information on Neurontin and any studies
                                                                                                       on using it to treat anxiety.


 CALL_DATE                   11/6/2001   CALL_ID          20012000002678       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                  12/12/2001   CALL_ID          20011000094176       CALL_TYPE        Detail and Starter

 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                    2/6/2002   CALL_ID          46427000000134       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES




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NAME                 Clinton, Mary                      SHERLOCK_SPECIALTY        NEU

PRESCRIBER_ID        23219838                           AMA_SPECIALTY             NEU



 CALL_DATE                        3/6/2002    CALL_ID               46426000032013       CALL_TYPE        Detail and Starter


 TERRITORY                  K1H12               REP_NAME                Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                                 NASHVILLE, TN 37203


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES



 CALL_DATE                        5/1/2002    CALL_ID               68998000016067       CALL_TYPE        Detail and Starter


 TERRITORY                  K1H12               REP_NAME                Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                                 NASHVILLE, TN 37203


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES



 CALL_DATE                      5/22/2002     CALL_ID               68998000034873       CALL_TYPE        Detail and Starter


 TERRITORY                  K1H12               REP_NAME                Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                                 NASHVILLE, TN 37203


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES



 CALL_DATE                      7/17/2002     CALL_ID               68998000071182       CALL_TYPE        Detail and Starter


 TERRITORY                  K1H12               REP_NAME                Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                                 NASHVILLE, TN 37203

 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES
 K1H12 / very hurried, need to stress decline with neurontin,
 where she is going with others, may not be seeing as many
 alzheimer's patients




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NAME                 Clinton, Mary                    SHERLOCK_SPECIALTY        NEU

PRESCRIBER_ID        23219838                         AMA_SPECIALTY             NEU



 CALL_DATE                       9/3/2002   CALL_ID               68998000102083        CALL_TYPE        Detail and Starter


 TERRITORY                  K1H12              REP_NAME               Pippin, Ashley       CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                                NASHVILLE, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES



 CALL_DATE                      10/7/2002   CALL_ID               68998000114963        CALL_TYPE        Detail and Starter


 TERRITORY                  K1H12              REP_NAME               Pippin, Ashley       CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                                NASHVILLE, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 K1H12 / does not know much about it, uses all 3, does not
 have a favorite


 CALL_DATE                    11/25/2002    CALL_ID               50591000000810        CALL_TYPE        Detail and Starter


 TERRITORY                  E3B21              REP_NAME               Capasso, Regina      CALL_ADDRESS:        1916 Patterson St Suite 101
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES



 CALL_DATE                      1/29/2003   CALL_ID               68998000172203        CALL_TYPE        Detail and Starter


 TERRITORY                  K1H12              REP_NAME               Pippin, Ashley       CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                                NASHVILLE, TN 37203

 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES



 CALL_DATE                      2/11/2003   CALL_ID               68998000181190        CALL_TYPE        Detail and Starter


 TERRITORY                  K1H12              REP_NAME               Pippin, Ashley       CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                                NASHVILLE, TN 37203

 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES

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NAME                  Clinton, Mary                      SHERLOCK_SPECIALTY        NEU

PRESCRIBER_ID         23219838                           AMA_SPECIALTY             NEU



 CALL_DATE                       4/17/2003    CALL_ID                68998000210628       CALL_TYPE        Detail and Starter


 TERRITORY                   K1H12               REP_NAME                Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                                  NASHVILLE, TN 37203


 CALL_NOTES                                                     AE_NOTES                                          MI_NOTES



 CALL_DATE                       5/30/2003    CALL_ID                23648500000730       CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13            REP_NAME                3NR11M13, Vacant    CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                          MI_NOTES
 Committed to using Relpax first because of the cost issue -
 She said that she wanted to do her part to keep health care
 costs down (5-30-03)


 CALL_DATE                        6/5/2003    CALL_ID                23611900001383       CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13            REP_NAME                3NU11M13, Vacant    CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                          MI_NOTES



 CALL_DATE                        6/5/2003    CALL_ID                23648500001298       CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13            REP_NAME                3NR11M13, Vacant    CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                          MI_NOTES
 Says she will use Relpax first because of pricing - wants to
 help keep healthcare costs down,




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NAME                  Clinton, Mary                       SHERLOCK_SPECIALTY      NEU

PRESCRIBER_ID         23219838                            AMA_SPECIALTY           NEU



 CALL_DATE                         6/5/2003     CALL_ID               24309600000082     CALL_TYPE        Detail and Starter


 TERRITORY                    3NU11M13            REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:       1916 Patterson St Ste 101
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                      MI_NOTES



 CALL_DATE                        6/20/2003     CALL_ID               23648500002363     CALL_TYPE        Detail and Starter


 TERRITORY                    3NR11M13            REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St Ste 101
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                      MI_NOTES
 Reminded her of price change with triptans and also
 BCBS - she committed to using Rel. first line, gave a
 sample while I was back in the office.


 CALL_DATE                        7/18/2003     CALL_ID               23648500004842     CALL_TYPE        Literature Drop Only


 TERRITORY                    3NR11M13            REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St Ste 101
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                      MI_NOTES
 Dr. Clinton was not seeing reps today.


 CALL_DATE                        8/11/2003     CALL_ID               23648500007076     CALL_TYPE        Detail and Starter


 TERRITORY                    3NR11M13            REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St Ste 101
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                      MI_NOTES
 She wants information about Aricept vs. Exelon and
 Mirapex vs. Requip but not from us because we "slant the
 info". She wants it from a clinical person so I offered Christi
 and she said fine. She seems very interested in the
 business side of the pharmaceutical industry. She uses
 Aricept first and I showed her the prescription data vs.
 Exelon. She said she's using Relpax first because of cost.
 She thinks all of the DA's are the same.



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NAME                 Clinton, Mary                     SHERLOCK_SPECIALTY      NEU

PRESCRIBER_ID        23219838                          AMA_SPECIALTY           NEU



 CALL_DATE                      8/13/2003    CALL_ID               23648500007218     CALL_TYPE        Detail Only


 TERRITORY                  3NR11M13            REP_NAME               3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St Ste 101
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                       MI_NOTES
 Discussed the Polo PD fundraiser.


 CALL_DATE                      8/28/2003    CALL_ID               23648500008552     CALL_TYPE        Literature Drop Only


 TERRITORY                  3NR11M13            REP_NAME               3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St Ste 101
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                       MI_NOTES
 She cancelled my lunch for 9-2-03 - she's on vacation for 2
 weeks.


 CALL_DATE                      9/11/2003    CALL_ID               23648500009768     CALL_TYPE        Literature Drop Only


 TERRITORY                  3NR11M13            REP_NAME               3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St Ste 101
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                       MI_NOTES
 She needed all of my samples but I waited 30 minutes and
 they said it would be a while longer.


 CALL_DATE                      9/19/2003    CALL_ID               25318000006338     CALL_TYPE        Detail and Starter


 TERRITORY                  3NU11M13            REP_NAME               3NU11M13, Vacant   CALL_ADDRESS:       1916 Patterson St Ste 101
                                                                                                              Nashville, TN 37203

 CALL_NOTES                                                    AE_NOTES                                       MI_NOTES
 Dr CLinton is really liking Relpax and Neurontin, need more
 time for Rebif




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NAME                 Clinton, Mary                    SHERLOCK_SPECIALTY       NEU

PRESCRIBER_ID        23219838                         AMA_SPECIALTY            NEU



 CALL_DATE                       10/9/2003   CALL_ID              23648500012448        CALL_TYPE        Literature Drop Only


 TERRITORY                    3NR11M13         REP_NAME               3NR11M13, Vacant     CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 She couldn't see me today.


 CALL_DATE                      10/23/2003   CALL_ID              23648500013766        CALL_TYPE        Detail and Starter


 TERRITORY                    3NR11M13         REP_NAME               3NR11M13, Vacant     CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 Followed up about Christi and her software issues - she
 may let me come in and do a lunch with Christi - They are
 not doing lunches at all right now.


 CALL_DATE                       12/4/2003   CALL_ID              20922300009644        CALL_TYPE        Detail and Starter


 TERRITORY                    3PB16A15         REP_NAME               Capasso, Regina      CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES



 CALL_DATE                       12/5/2003   CALL_ID              27781200000672        CALL_TYPE        Literature Drop Only


 TERRITORY                    3NU22B53         REP_NAME               Ross, Janet          CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 They said they were fine with samples.




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NAME                    Clinton, Mary                    SHERLOCK_SPECIALTY       NEU

PRESCRIBER_ID           23219838                         AMA_SPECIALTY            NEU



 CALL_DATE                       12/11/2003    CALL_ID               28487400000571        CALL_TYPE        Detail and Starter


 TERRITORY                    3NU22B13           REP_NAME                Hardin, Robert       CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                          MI_NOTES



 CALL_DATE                       12/19/2003    CALL_ID               27781200000986        CALL_TYPE        Literature Drop Only


 TERRITORY                    3NU22B53           REP_NAME                Ross, Janet          CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                          MI_NOTES
 She wasn't in today.


 CALL_DATE                          1/8/2004   CALL_ID               28487400000895        CALL_TYPE        Detail and Starter


 TERRITORY                    3NU22B13           REP_NAME                Hardin, Robert       CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                          MI_NOTES



 CALL_DATE                         1/12/2004   CALL_ID               20922300010715        CALL_TYPE        Detail and Starter


 TERRITORY                    3PB16A15           REP_NAME                Capasso, Regina      CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                   Nashville, TN 37203

 CALL_NOTES                                                      AE_NOTES                                          MI_NOTES



 CALL_DATE                         1/15/2004   CALL_ID               27781200001463        CALL_TYPE        Detail and Starter


 TERRITORY                    3NU22B53           REP_NAME                Ross, Janet          CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                          MI_NOTES
 L- she was not aware of all of the Neurontin pt. programs
 A - she said there should be no pts. that can't get Neu. now.
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NAME                  Clinton, Mary                      SHERLOCK_SPECIALTY       NEU

PRESCRIBER_ID         23219838                           AMA_SPECIALTY            NEU



 CALL_DATE                       1/29/2004     CALL_ID               27781200001898        CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B53            REP_NAME                Ross, Janet          CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                            MI_NOTES



 CALL_DATE                       2/10/2004     CALL_ID               27781200002505        CALL_TYPE        Literature Drop Only


 TERRITORY                   3NU22B53            REP_NAME                Ross, Janet          CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                            MI_NOTES



 CALL_DATE                       3/24/2004     CALL_ID               31895700000268        CALL_TYPE        Detail and Starter


 TERRITORY                   3PB16A15            REP_NAME                Capasso, Regina      CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                            MI_NOTES



 CALL_DATE                        4/9/2004     CALL_ID               27781200003521        CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B53            REP_NAME                Ross, Janet          CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                   Nashville, TN 37203

 CALL_NOTES                                                    AE_NOTES                                            MI_NOTES
 A - she said the cost of Relpax will make a difference for
 her and her patients F- she's coming to the Brandes
 program




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NAME                 Clinton, Mary                     SHERLOCK_SPECIALTY       NEU

PRESCRIBER_ID        23219838                          AMA_SPECIALTY            NEU



 CALL_DATE                      4/22/2004    CALL_ID               27781200003837       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B53           REP_NAME                Ross, Janet         CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 F- thinks she is coming to the Brandes program tonight.


 CALL_DATE                       5/5/2004    CALL_ID               27781200004163       CALL_TYPE        Detail Only


 TERRITORY                  3NU22B53           REP_NAME                Ross, Janet         CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 L- wants us to sponsor a PD polo match for the Vanderbilt
 PD clinic; she plays polo on Sundays in Leiper's Fork.


 CALL_DATE                      5/11/2004    CALL_ID               28487400003145       CALL_TYPE        Detail Only


 TERRITORY                  3NU22B13           REP_NAME                Hardin, Robert      CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 Just aboe to say hi to Dr C and speak with Caroline today


 CALL_DATE                      5/19/2004    CALL_ID               27781200004746       CALL_TYPE        Literature Drop Only


 TERRITORY                  3NU22B53           REP_NAME                Ross, Janet         CALL_ADDRESS:        1916 Patterson St Ste 101
                                                                                                                Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES




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NAME              Clinton, Mary          SHERLOCK_SPECIALTY   NEU

PRESCRIBER_ID     23219838               AMA_SPECIALTY        NEU

SAMPLES

   CALL_DATE          CALL_ID             CODE                  FORMULATION                QUANTITY
       10/9/2001 20011000030399        7715        Neurontin 100mg x 3                            12
       11/6/2001 20012000002678        7710        Neurontin 300mg x 3                           144
       11/6/2001 20012000002678        7715        Neurontin 100mg x 3                            42
      12/12/2001 20011000094176        7712        Neurontin 600mg x 3                            36
      12/12/2001 20011000094176        7713        Neurontin 800mg x 3                            72
      12/12/2001 20011000094176        7715        Neurontin 100mg x 3                           144
      12/12/2001 20011000094176        7710        Neurontin 300mg x 3                           198
        2/6/2002 46427000000134        7709        Neuronin 100mg x 10 Unidose                    30
        2/6/2002 46427000000134        7710        Neurontin 300mg x 3                           216
        3/6/2002 46426000032013        7715        Neurontin 100mg x 3                            72
        3/6/2002 46426000032013        7712        Neurontin 600mg x 3                            36
        3/6/2002 46426000032013        7710        Neurontin 300mg x 3                            72
        5/1/2002 68998000016067        7710        Neurontin 300mg x 3                           144
        5/1/2002 68998000016067        7712        Neurontin 600mg x 3                           144
       5/22/2002 68998000034873        7715        Neurontin 100mg x 3                            72
       5/22/2002 68998000034873        7710        Neurontin 300mg x 3                            72
       7/17/2002 68998000071182        7710        Neurontin 300mg x 3                           144
        9/3/2002 68998000102083        7713        Neurontin 800mg x 3                           144
       10/7/2002 68998000114963        7712        Neurontin 600mg x 3                            72
      11/25/2002 50591000000810        7710        Neurontin 300mg x 3                            72
       1/29/2003 68998000172203        7710        Neurontin 300mg x 3                            72
       2/11/2003 68998000181190        7710        Neurontin 300mg x 3                            72
       2/11/2003 68998000181190        7712        Neurontin 600mg x 3                            72
        6/5/2003 236119000013831       7712        Neurontin 600mg x 3                            36
        6/5/2003 236485000012988       7710        Neurontin 300mg x 3                            36
        6/5/2003 243096000000823       7712        Neurontin 600mg x 3                            36
        6/5/2003 236485000012988       7712        Neurontin 600mg x 3                            36
       6/20/2003 236485000023630       7710        Neurontin 300mg x 3                            36
       9/19/2003 253180000063385       7712        Neurontin 600mg x 3                           144
       9/19/2003 253180000063385       7710        Neurontin 300mg x 3                           144
       12/4/2003 209223000096442       7712        Neurontin 600mg x 3                            18
       12/4/2003 209223000096442       7710        Neurontin 300mg x 3                            18
      12/11/2003 284874000005711       7710        Neurontin 300mg x 3                            24

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NAME              Clinton, Mary          SHERLOCK_SPECIALTY   NEU

PRESCRIBER_ID     23219838               AMA_SPECIALTY        NEU


   CALL_DATE          CALL_ID             CODE                  FORMULATION                    QUANTITY
        1/8/2004 284874000008953       7712        Neurontin 600mg x 3                                36
        1/8/2004 284874000008953       7710        Neurontin 300mg x 3                                36
        1/8/2004 284874000008953       7715        Neurontin 100mg x 3                                36
       1/12/2004 209223000107150       7710        Neurontin 300mg x 3                                18
       1/29/2004 277812000018989       7713        Neurontin 800mg x 3                                12
       1/29/2004 277812000018989       7712        Neurontin 600mg x 3                                12
       3/24/2004 318957000002682       7712        Neurontin 600mg x 3                                36
       3/24/2004 318957000002682       7710        Neurontin 300mg x 3                                36
       4/22/2004 277812000038372       7698        Neurontin Scored Tabs 800mg x 3                    36




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NAME              CLINTON, MARYELLEN          SHERLOCK_SPECIALTY     NEU

PRESCRIBER_ID     32058635                    AMA_SPECIALTY


SALES CALLS


 CALL_DATE                    2/3/1999   CALL_ID          90257173         CALL_TYPE        Detail and Starter


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   2/15/1999   CALL_ID          90368574         CALL_TYPE        Detail Only


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                    3/4/1999   CALL_ID          90554535         CALL_TYPE        Detail Only


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   3/17/1999   CALL_ID          90686875         CALL_TYPE        Detail Only


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES




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NAME              CLINTON, MARYELLEN          SHERLOCK_SPECIALTY     NEU

PRESCRIBER_ID     32058635                    AMA_SPECIALTY



 CALL_DATE                   3/26/1999   CALL_ID          90778006         CALL_TYPE        Detail Only


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                    4/9/1999   CALL_ID          90894625         CALL_TYPE        Detail Only


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   4/12/1999   CALL_ID          90906084         CALL_TYPE        Detail and Starter


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                    6/9/1999   CALL_ID          91351721         CALL_TYPE        Detail and Starter


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203

 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   8/12/1999   CALL_ID          91838365         CALL_TYPE        Detail and Starter


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES


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NAME              CLINTON, MARYELLEN          SHERLOCK_SPECIALTY     NEU

PRESCRIBER_ID     32058635                    AMA_SPECIALTY



 CALL_DATE                  10/13/1999   CALL_ID          92286557         CALL_TYPE        Detail and Starter


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                  12/27/1999   CALL_ID          92843098         CALL_TYPE        Detail and Starter


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   1/19/2000   CALL_ID          92976589         CALL_TYPE        Detail and Starter


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                    2/9/2000   CALL_ID          93131387         CALL_TYPE        Detail and Starter


 TERRITORY             PD                 REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203

 CALL_NOTES                                          AE_NOTES                                      MI_NOTES




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NAME                 CLINTON, MARYELLEN               SHERLOCK_SPECIALTY     NEU

PRESCRIBER_ID        32058635                         AMA_SPECIALTY



 CALL_DATE                       2/16/2000   CALL_ID              93193227         CALL_TYPE        Detail and Starter


 TERRITORY                  PD                 REP_NAME               N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                           Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                      MI_NOTES
 Pam - Problem w/ TNCare approving Celexa for depr - will
 only approve after THREE meds have failed!! Dr. Clinton -
 $$ of Neurontin


 CALL_DATE                       3/15/2000   CALL_ID              93460060         CALL_TYPE        Detail and Starter


 TERRITORY                  PD                 REP_NAME               N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                           Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                      MI_NOTES



 CALL_DATE                       4/20/2000   CALL_ID              93780130         CALL_TYPE        Detail and Starter


 TERRITORY                  PD                 REP_NAME               N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                           Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                      MI_NOTES



 CALL_DATE                        5/8/2000   CALL_ID              93891846         CALL_TYPE        Detail Only


 TERRITORY                  PD                 REP_NAME               N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                           Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                      MI_NOTES




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NAME                 CLINTON, MARYELLEN           SHERLOCK_SPECIALTY     NEU

PRESCRIBER_ID        32058635                     AMA_SPECIALTY



 CALL_DATE                       5/10/2000   CALL_ID          93915446         CALL_TYPE        Detail and Starter


 TERRITORY                  PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                              AE_NOTES                                      MI_NOTES
 Pam-Rep from Dallas keeps calling!!!


 CALL_DATE                       6/15/2000   CALL_ID          94222047         CALL_TYPE        Detail and Starter


 TERRITORY                  PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                              AE_NOTES                                      MI_NOTES



 CALL_DATE                       6/26/2000   CALL_ID          94308289         CALL_TYPE        Detail Only


 TERRITORY                  PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                              AE_NOTES                                      MI_NOTES



 CALL_DATE                       7/17/2000   CALL_ID          94435118         CALL_TYPE        Detail and Starter


 TERRITORY                  PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203

 CALL_NOTES                                              AE_NOTES                                      MI_NOTES
 Sept 30th-Polo benefit-Leipers Fork


 CALL_DATE                       8/14/2000   CALL_ID          94673012         CALL_TYPE        Detail and Starter


 TERRITORY                  PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                              AE_NOTES                                      MI_NOTES


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NAME                 CLINTON, MARYELLEN              SHERLOCK_SPECIALTY      NEU

PRESCRIBER_ID        32058635                        AMA_SPECIALTY



 CALL_DATE                      8/24/2000   CALL_ID              94808193            CALL_TYPE        Detail and Starter


 TERRITORY                 PD                  REP_NAME              N/A                  CALL_ADDRESS:      1916 Patterson St
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                          MI_NOTES
 Uses N for tremor, neurop pain, sleep; Uses 100's
 sometimes for the elderly; Uses 600 & 800's


 CALL_DATE                       9/6/2000   CALL_ID              94908311            CALL_TYPE        Detail and Starter


 TERRITORY                 PD                  REP_NAME              N/A                  CALL_ADDRESS:      1916 Patterson St
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                          MI_NOTES



 CALL_DATE                      9/15/2000   CALL_ID              94998088            CALL_TYPE        Detail and Starter


 TERRITORY                 PD                  REP_NAME              N/A                  CALL_ADDRESS:      1916 Patterson St
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                          MI_NOTES



 CALL_DATE                      9/21/2000   CALL_ID              95049068            CALL_TYPE        Detail Only


 TERRITORY                 PD                  REP_NAME              N/A                  CALL_ADDRESS:      1916 Patterson St
                                                                                                             Nashville, TN 37203

 CALL_NOTES                                                AE_NOTES                                          MI_NOTES



 CALL_DATE                    10/24/2000    CALL_ID              346101537           CALL_TYPE        Detail and Starter


 TERRITORY                 T3CTC               REP_NAME              Schoonmaker, Chely   CALL_ADDRESS:      1916 Patterson St
                                                                                                             Nashville, TN 37203

 CALL_NOTES                                                AE_NOTES                                          MI_NOTES

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NAME              CLINTON, MARYELLEN          SHERLOCK_SPECIALTY        NEU

PRESCRIBER_ID     32058635                    AMA_SPECIALTY



 CALL_DATE                  11/17/2000   CALL_ID          224000697            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                  11/21/2000   CALL_ID          224000669            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                  11/30/2000   CALL_ID          69114753             CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                  12/21/2000   CALL_ID          224000721            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203

 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                    1/3/2001   CALL_ID          224000740            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES


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NAME              CLINTON, MARYELLEN          SHERLOCK_SPECIALTY        NEU

PRESCRIBER_ID     32058635                    AMA_SPECIALTY



 CALL_DATE                   1/16/2001   CALL_ID          224000799            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                   1/24/2001   CALL_ID          224000821            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                   2/22/2001   CALL_ID          224000982            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                   3/13/2001   CALL_ID          224001006            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203

 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                   4/24/2001   CALL_ID          224001163            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES


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NAME              CLINTON, MARYELLEN          SHERLOCK_SPECIALTY        NEU

PRESCRIBER_ID     32058635                    AMA_SPECIALTY



 CALL_DATE                   7/28/2001   CALL_ID          224001481            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                         MI_NOTES



 CALL_DATE                    9/4/2001   CALL_ID          224001586            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                         MI_NOTES


SAMPLES
   CALL_DATE          CALL_ID                  CODE                  FORMULATION                      QUANTITY
        2/3/1999 90257173                   7710        Neurontin 300mg x 3 x 6 x 12                         12
        2/3/1999 90257173                   7711        Neurontin 400mg x 3 x 6 x 12                         12
        2/3/1999 90257173                   7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)               8
       4/12/1999 90906084                   7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)               6
       4/12/1999 90906084                   7710        Neurontin 300mg x 3 x 6 x 12                         25
        6/9/1999 91351721                   7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)               2
        6/9/1999 91351721                   7710        Neurontin 300mg x 3 x 6 x 12                         12
       8/12/1999 91838365                   7710        Neurontin 300mg x 3 x 6 x 12                         24
       8/12/1999 91838365                   7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)               8
      10/13/1999 92286557                   7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)              15
      10/13/1999 92286557                   7710        Neurontin 300mg x 3 x 6 x 12                         36
      12/27/1999 92843098                   7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)              12
      12/27/1999 92843098                   7710        Neurontin 300mg x 3 x 6 x 12                         12
       1/19/2000 92976589                   7710        Neurontin 300mg x 3 x 6 x 12                          8
        2/9/2000 93131387                   7710        Neurontin 300mg x 3 x 6 x 12                         12
       2/16/2000 93193227                   7712        Neurontin 600mg x 3 x 6 x 12                          6
       2/16/2000 93193227                   7710        Neurontin 300mg x 3 x 6 x 12                         12
       2/16/2000 93193227                   7713        Neurontin 800mg x 3 x 6 x 12                          6
       3/15/2000 93460060                   7710        Neurontin 300mg x 3 x 6 x 12                         12
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NAME              CLINTON, MARYELLEN     SHERLOCK_SPECIALTY   NEU

PRESCRIBER_ID     32058635               AMA_SPECIALTY


   CALL_DATE          CALL_ID             CODE                  FORMULATION                   QUANTITY
       3/15/2000 93460060              7712        Neurontin 600mg x 3 x 6 x 12                       4
       3/15/2000 93460060              7713        Neurontin 800mg x 3 x 6 x 12                       4
       3/15/2000 93460060              7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)            6
       4/20/2000 93780130              7710        Neurontin 300mg x 3 x 6 x 12                      12
       4/20/2000 93780130              7712        Neurontin 600mg x 3 x 6 x 12                       6
       5/10/2000 93915446              7710        Neurontin 300mg x 3 x 6 x 12                      12
       5/10/2000 93915446              7712        Neurontin 600mg x 3 x 6 x 12                       4
       5/10/2000 93915446              7713        Neurontin 800mg x 3 x 6 x 12                       2
       6/15/2000 94222047              7712        Neurontin 600mg x 3 x 6 x 12                       3
       6/15/2000 94222047              7713        Neurontin 800mg x 3 x 6 x 12                       3
       6/15/2000 94222047              7710        Neurontin 300mg x 3 x 6 x 12                      12
       6/15/2000 94222047              7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)            3
       7/17/2000 94435118              7710        Neurontin 300mg x 3 x 6 x 12                      12
       7/17/2000 94435118              7712        Neurontin 600mg x 3 x 6 x 12                       3
       7/17/2000 94435118              7713        Neurontin 800mg x 3 x 6 x 12                       3
       8/14/2000 94673012              7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)            3
       8/14/2000 94673012              7712        Neurontin 600mg x 3 x 6 x 12                       3
       8/14/2000 94673012              7713        Neurontin 800mg x 3 x 6 x 12                       2
       8/24/2000 94808193              7713        Neurontin 800mg x 3 x 6 x 12                       3
       8/24/2000 94808193              7712        Neurontin 600mg x 3 x 6 x 12                       2
        9/6/2000 94908311              7712        Neurontin 600mg x 3 x 6 x 12                       4
        9/6/2000 94908311              7713        Neurontin 800mg x 3 x 6 x 12                       2
        9/6/2000 94908311              7710        Neurontin 300mg x 3 x 6 x 12                      12
      10/24/2000 346101537             7713        Neurontin 800mg x 3 x 6 x 12                      18
      11/17/2000 224000697             7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)           10
      11/17/2000 224000697             7710        Neurontin 300mg x 3 x 6 x 12                      36
      11/17/2000 224000697             7712        Neurontin 600mg x 3 x 6 x 12                      36
      11/21/2000 224000669             7712        Neurontin 600mg x 3 x 6 x 12                      24
      11/21/2000 224000669             7713        Neurontin 800mg x 3 x 6 x 12                      24
      11/21/2000 224000669             7710        Neurontin 300mg x 3 x 6 x 12                      36
      11/30/2000 69114753              7713        Neurontin 800mg x 3 x 6 x 12                      66
      11/30/2000 69114753              7710        Neurontin 300mg x 3 x 6 x 12                      48
      12/21/2000 224000721             7710        Neurontin 300mg x 3 x 6 x 12                      66
      12/21/2000 224000721             7712        Neurontin 600mg x 3 x 6 x 12                      72
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NAME              CLINTON, MARYELLEN     SHERLOCK_SPECIALTY   NEU

PRESCRIBER_ID     32058635               AMA_SPECIALTY


   CALL_DATE          CALL_ID             CODE                  FORMULATION                   QUANTITY
        1/3/2001 224000740             7710        Neurontin 300mg x 3 x 6 x 12                      72
        1/3/2001 224000740             7712        Neurontin 600mg x 3 x 6 x 12                      72
       1/16/2001 224000799             7712        Neurontin 600mg x 3 x 6 x 12                      72
       1/16/2001 224000799             7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)           20
       1/16/2001 224000799             7710        Neurontin 300mg x 3 x 6 x 12                      72
       1/24/2001 224000821             7713        Neurontin 800mg x 3 x 6 x 12                      72
       1/24/2001 224000821             7710        Neurontin 300mg x 3 x 6 x 12                      72
       1/24/2001 224000821             7712        Neurontin 600mg x 3 x 6 x 12                      72
       2/22/2001 224000982             7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)           25
       2/22/2001 224000982             7710        Neurontin 300mg x 3 x 6 x 12                      72
       2/22/2001 224000982             7712        Neurontin 600mg x 3 x 6 x 12                      72
       2/22/2001 224000982             7713        Neurontin 800mg x 3 x 6 x 12                      36
       3/13/2001 224001006             7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)           10
       3/13/2001 224001006             7710        Neurontin 300mg x 3 x 6 x 12                      60
       3/13/2001 224001006             7712        Neurontin 600mg x 3 x 6 x 12                      36
       4/24/2001 224001163             7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)           20
       4/24/2001 224001163             7712        Neurontin 600mg x 3 x 6 x 12                      72
       4/24/2001 224001163             7713        Neurontin 800mg x 3 x 6 x 12                      72
       7/28/2001 224001481             7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)           30
       7/28/2001 224001481             7710        Neurontin 300mg x 3 x 6 x 12                      48
       7/28/2001 224001481             7713        Neurontin 800mg x 3 x 6 x 12                      36
        9/4/2001 224001586             7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)           30
        9/4/2001 224001586             7712        Neurontin 600mg x 3 x 6 x 12                      72
        9/4/2001 224001586             7713        Neurontin 800mg x 3 x 6 x 12                      72




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NAME              Culclaasure, John           SHERLOCK_SPECIALTY     ANS

PRESCRIBER_ID     32412230                    AMA_SPECIALTY


SALES CALLS


 CALL_DATE                  10/13/1999   CALL_ID          92286558         CALL_TYPE        Detail Only


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        2400 Patterson St. Suite 400
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                  12/23/1999   CALL_ID          92839417         CALL_TYPE        Detail and Starter


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                    2/9/2000   CALL_ID          93131388         CALL_TYPE        Detail and Starter


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   3/15/2000   CALL_ID          93460061         CALL_TYPE        Detail and Starter


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES




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NAME              Culclaasure, John           SHERLOCK_SPECIALTY     ANS

PRESCRIBER_ID     32412230                    AMA_SPECIALTY



 CALL_DATE                   4/11/2000   CALL_ID          93692484         CALL_TYPE        Detail Only


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   4/13/2000   CALL_ID          93719805         CALL_TYPE        Detail Only


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   5/10/2000   CALL_ID          93915448         CALL_TYPE        Detail and Starter


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   6/15/2000   CALL_ID          94222051         CALL_TYPE        Detail Only


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203

 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   7/19/2000   CALL_ID          94460838         CALL_TYPE        Detail Only


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES


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NAME                 Culclaasure, John                 SHERLOCK_SPECIALTY     ANS

PRESCRIBER_ID        32412230                          AMA_SPECIALTY



 CALL_DATE                        8/3/2000   CALL_ID               94587306         CALL_TYPE          Detail and Starter


 TERRITORY                  PD                  REP_NAME               N/A             CALL_ADDRESS:          1916 Patterson St
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 N for postop pain only - works great!! Most common daily
 dose: 600mg tid (old feedback)Ç8/00-Hasn't really used
 600/800's b/c usually uses 300's X3 - would love 900mg
 tabs!! Sugegsted 1.5 600's b/c less tabs (copay) & less $


 CALL_DATE                       8/24/2000   CALL_ID               94808192         CALL_TYPE          Detail and Starter


 TERRITORY                  PD                  REP_NAME               N/A             CALL_ADDRESS:          1916 Patterson St
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES


SAMPLES

   CALL_DATE          CALL_ID                         CODE                    FORMULATION                    QUANTITY
      12/23/1999 92839417                          7710          Neurontin 300mg x 3 x 6 x 12                        8
      12/23/1999 92839417                          7709          Neurontin 100mg x 10 x 5 x 60(Uni-Dose)             8
        2/9/2000 93131388                          7710          Neurontin 300mg x 3 x 6 x 12                        8
       3/15/2000 93460061                          7713          Neurontin 800mg x 3 x 6 x 12                        4
       3/15/2000 93460061                          7712          Neurontin 600mg x 3 x 6 x 12                        4
       3/15/2000 93460061                          7710          Neurontin 300mg x 3 x 6 x 12                       12
       3/15/2000 93460061                          7709          Neurontin 100mg x 10 x 5 x 60(Uni-Dose)             6
       5/10/2000 93915448                          7710          Neurontin 300mg x 3 x 6 x 12                        9
        8/3/2000 94587306                          7709          Neurontin 100mg x 10 x 5 x 60(Uni-Dose)             4
       8/24/2000 94808192                          7710          Neurontin 300mg x 3 x 6 x 12                        6
       8/24/2000 94808192                          7709          Neurontin 100mg x 10 x 5 x 60(Uni-Dose)             1




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NAME                Culclasure, John                SHERLOCK_SPECIALTY        APM

PRESCRIBER_ID       23279720                        AMA_SPECIALTY             APM


SALES CALLS


 CALL_DATE                      8/8/2002   CALL_ID              68998000087568        CALL_TYPE        Detail Only


 TERRITORY                K1H12              REP_NAME               Pippin, Ashley       CALL_ADDRESS:        2400 Patterson St.
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES
 K1H12 / got a book on phn ate conference, was taught how
 to get around topic


 CALL_DATE                     10/9/2002   CALL_ID              50590000121147        CALL_TYPE        Detail Only


 TERRITORY                E3B21              REP_NAME               Capasso, Regina      CALL_ADDRESS:        2400 Patterson St, Suite 400
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES



 CALL_DATE                   11/22/2002    CALL_ID              68998000140025        CALL_TYPE        Detail Only

 TERRITORY                K1H12              REP_NAME               Pippin, Ashley       CALL_ADDRESS:        2400 Patterson St.
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES



 CALL_DATE                      3/6/2003   CALL_ID              68998000190012        CALL_TYPE        Detail and Starter


 TERRITORY                K1H12              REP_NAME               Pippin, Ashley       CALL_ADDRESS:        2400 Patterson St.
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES




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NAME                 Culclasure, John            SHERLOCK_SPECIALTY        APM

PRESCRIBER_ID        23279720                    AMA_SPECIALTY             APM



 CALL_DATE                      4/17/2003   CALL_ID          68998000210524       CALL_TYPE        Detail and Starter


 TERRITORY                    K1H12          REP_NAME            Pippin, Ashley      CALL_ADDRESS:        2400 Patterson St.
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES



 CALL_DATE                      5/30/2003   CALL_ID          23648500000738       CALL_TYPE        Detail and Starter


 TERRITORY                    3NR11M13       REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:        4230 Harding Pike
                                                                                                          Nashville, TN 37205


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES



 CALL_DATE                      6/20/2003   CALL_ID          23648500002342       CALL_TYPE        Detail and Starter


 TERRITORY                    3NR11M13       REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:        4230 Harding Pike
                                                                                                          Nashville, TN 37205


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES



 CALL_DATE                      7/18/2003   CALL_ID          23648500004831       CALL_TYPE        Detail and Starter


 TERRITORY                    3NR11M13       REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:        4230 Harding Pike
                                                                                                          Nashville, TN 37205

 CALL_NOTES                                             AE_NOTES                                          MI_NOTES
 Quick hello - Neu. mention


 CALL_DATE                      8/11/2003   CALL_ID          23648500007061       CALL_TYPE        Detail Only


 TERRITORY                    3NR11M13       REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES
 Quick Neurontin mention.

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NAME                 Culclasure, John                 SHERLOCK_SPECIALTY       APM

PRESCRIBER_ID        23279720                         AMA_SPECIALTY            APM



 CALL_DATE                      8/28/2003   CALL_ID               23648500008546        CALL_TYPE        Detail Only


 TERRITORY                  3NR11M13           REP_NAME               3NR11M13, Vacant     CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                         MI_NOTES
 Quick Neurontin mention


 CALL_DATE                      9/11/2003   CALL_ID               23648500009766        CALL_TYPE        Detail Only


 TERRITORY                  3NR11M13           REP_NAME               3NR11M13, Vacant     CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                         MI_NOTES
 Quick Neurontin mention


 CALL_DATE                      10/9/2003   CALL_ID               23648500012444        CALL_TYPE        Detail Only


 TERRITORY                  3NR11M13           REP_NAME               3NR11M13, Vacant     CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                         MI_NOTES
 Quick Neurontin mention.


 CALL_DATE                    11/21/2003    CALL_ID               27781200000387        CALL_TYPE        Literature Drop Only


 TERRITORY                  3NU22B53           REP_NAME               Ross, Janet          CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                                Nashville, TN 37203

 CALL_NOTES                                                    AE_NOTES                                         MI_NOTES
 He was in a procedure this morning and wasn' t seeing reps.


 CALL_DATE                      1/12/2004   CALL_ID               20922300010720        CALL_TYPE        Detail and Starter


 TERRITORY                  3PB16A15           REP_NAME               Capasso, Regina      CALL_ADDRESS:        1916 Patterson St
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                         MI_NOTES


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NAME                 Culclasure, John                   SHERLOCK_SPECIALTY       APM

PRESCRIBER_ID        23279720                           AMA_SPECIALTY            APM



 CALL_DATE                      1/15/2004     CALL_ID               27781200001465       CALL_TYPE        Detail Only


 TERRITORY                  3NU22B53            REP_NAME                Ross, Janet         CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                          MI_NOTES
 L-he was not aware of the new split tabs F- Neu. pt.
 assistance programs


 CALL_DATE                      1/30/2004     CALL_ID               27781200001916       CALL_TYPE        Detail Only


 TERRITORY                  3NU22B53            REP_NAME                Ross, Janet         CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                          MI_NOTES



 CALL_DATE                      2/10/2004     CALL_ID               27781200002500       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B53            REP_NAME                Ross, Janet         CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                    AE_NOTES                                          MI_NOTES
 L- he told his staff to keep reminding him about the scored
 tabs F- cost savings for his patients.


 CALL_DATE                      2/18/2004     CALL_ID               28487400002045       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B13            REP_NAME                Hardin, Robert      CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                                 Nashville, TN 37203

 CALL_NOTES                                                    AE_NOTES                                          MI_NOTES




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NAME              Culclasure, John            SHERLOCK_SPECIALTY       APM

PRESCRIBER_ID     23279720                    AMA_SPECIALTY            APM



 CALL_DATE                   2/27/2004   CALL_ID          27781200002829        CALL_TYPE        Literature Drop Only


 TERRITORY              3NU22B53          REP_NAME            Ross, Janet          CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   3/12/2004   CALL_ID          27781200003054        CALL_TYPE        Literature Drop Only


 TERRITORY              3NU22B53          REP_NAME            Ross, Janet          CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   3/18/2004   CALL_ID          28487400002424        CALL_TYPE        Detail and Starter


 TERRITORY              3NU22B13          REP_NAME            Hardin, Robert       CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   3/24/2004   CALL_ID          31895700000264        CALL_TYPE        Detail and Starter


 TERRITORY              3PB16A15          REP_NAME            Capasso, Regina      CALL_ADDRESS:        1916 Patterson St
                                                                                                        Nashville, TN 37203

 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   3/25/2004   CALL_ID          27781200003292        CALL_TYPE        Literature Drop Only


 TERRITORY              3NU22B53          REP_NAME            Ross, Janet          CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES


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NAME                    Culclasure, John              SHERLOCK_SPECIALTY       APM

PRESCRIBER_ID           23279720                      AMA_SPECIALTY            APM



 CALL_DATE                            4/9/2004   CALL_ID          27781200003515     CALL_TYPE        Detail and Starter


 TERRITORY                     3NU22B53           REP_NAME            Ross, Janet       CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                        MI_NOTES
 L- he really likes the split tabs


 CALL_DATE                           4/23/2004   CALL_ID          27781200003854     CALL_TYPE        Detail Only


 TERRITORY                     3NU22B53           REP_NAME            Ross, Janet       CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                        MI_NOTES



 CALL_DATE                            5/7/2004   CALL_ID          27781200004211     CALL_TYPE        Literature Drop Only


 TERRITORY                     3NU22B53           REP_NAME            Ross, Janet       CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                             Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                        MI_NOTES



 CALL_DATE                           5/19/2004   CALL_ID          27781200004751     CALL_TYPE        Detail Only


 TERRITORY                     3NU22B53           REP_NAME            Ross, Janet       CALL_ADDRESS:        1916 Patterson Street, suite 106
                                                                                                             Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                        MI_NOTES




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NAME              Culclasure, John          SHERLOCK_SPECIALTY   APM

PRESCRIBER_ID     23279720                  AMA_SPECIALTY        APM

SAMPLES

   CALL_DATE          CALL_ID                CODE                  FORMULATION             QUANTITY
        3/6/2003 68998000190012           7710        Neurontin 300mg x 3                         72
       5/30/2003 236485000007384          7710        Neurontin 300mg x 3                         30
       6/20/2003 236485000023426          7712        Neurontin 600mg x 3                         12
       7/18/2003 236485000048316          7710        Neurontin 300mg x 3                         72
       2/10/2004 277812000025009          7713        Neurontin 800mg x 3                         24
       2/18/2004 284874000020456          7710        Neurontin 300mg x 3                         72
       3/18/2004 284874000024245          7710        Neurontin 300mg x 3                         72
       3/24/2004 318957000002649          7712        Neurontin 600mg x 3                         72
       3/24/2004 318957000002649          7710        Neurontin 300mg x 3                         72
        4/9/2004 277812000035158          7710        Neurontin 300mg x 3                         72




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NAME                 Duncan, Kay                        SHERLOCK_SPECIALTY      NEU

PRESCRIBER_ID        62429000043532                     AMA_SPECIALTY           NPR


SALES CALLS


 CALL_DATE                       6/20/2003   CALL_ID                23648500002347     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13          REP_NAME                  3NR11M13, Vacant   CALL_ADDRESS:       2400 Patterson St
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 W ent to a NP Conference where they presented Neu.
 dosed at 3600 a day. Says she will be more aggresive


 CALL_DATE                       7/11/2003   CALL_ID                25318000000307     CALL_TYPE        Detail and Starter


 TERRITORY                  3NU11M13          REP_NAME                  3NU11M13, Vacant   CALL_ADDRESS:       2400 Patterson St
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 Kay complaint is price with Neurontin


 CALL_DATE                       7/18/2003   CALL_ID                23648500004824     CALL_TYPE        Literature Drop Only

 TERRITORY                  3NR11M13          REP_NAME                  3NR11M13, Vacant   CALL_ADDRESS:       2400 Patterson St
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 Kay was not in today.


 CALL_DATE                       7/29/2003   CALL_ID                23648500005739     CALL_TYPE        Literature Drop Only


 TERRITORY                  3NR11M13          REP_NAME                  3NR11M13, Vacant   CALL_ADDRESS:       2400 Patterson St
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 Kay wasn't seeing reps today.




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NAME                  Duncan, Kay                      SHERLOCK_SPECIALTY      NEU

PRESCRIBER_ID         62429000043532                   AMA_SPECIALTY           NPR



 CALL_DATE                          8/8/2003   CALL_ID             25318000002771     CALL_TYPE        Detail Only


 TERRITORY                   3NU11M13           REP_NAME               3NU11M13, Vacant   CALL_ADDRESS:       2400 Patterson St
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Kay seems to be opening up a bit and says she likes the
 flexibility of dosing Neurontin provides


 CALL_DATE                          9/2/2003   CALL_ID             25318000004803     CALL_TYPE        Detail Only


 TERRITORY                   3NU11M13           REP_NAME               3NU11M13, Vacant   CALL_ADDRESS:       2400 Patterson St
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Brief Neurontin detail this morning


 CALL_DATE                       10/7/2003     CALL_ID             23648500012038     CALL_TYPE        Literature Drop Only


 TERRITORY                   3NR11M13           REP_NAME               3NR11M13, Vacant   CALL_ADDRESS:       2400 Patterson St
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 They didn't need anything today.


 CALL_DATE                      10/16/2003     CALL_ID             27242300000021     CALL_TYPE        Detail Only


 TERRITORY                   3NU11M13           REP_NAME               3NU11M13, Vacant   CALL_ADDRESS:       2400 Patterson St
                                                                                                              Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Quick product mention today as they were busy


 CALL_DATE                      10/16/2003     CALL_ID             25318000008594     CALL_TYPE        Detail Only


 TERRITORY                   3NU11M13           REP_NAME               3NU11M13, Vacant   CALL_ADDRESS:       2400 Patterson St
                                                                                                              Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 briefly saw Kay in the hall and quick Neurontin mention
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NAME                Duncan, Kay                 SHERLOCK_SPECIALTY       NEU

PRESCRIBER_ID       62429000043532              AMA_SPECIALTY            NPR



 CALL_DATE                    10/24/2003   CALL_ID          23648500013794       CALL_TYPE        Detail Only


 TERRITORY                  3NR11M13        REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:        2400 Patterson St
                                                                                                         Nashville, TN 37203


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES
 Quick Neurontin mention.


 CALL_DATE                    11/10/2003   CALL_ID          28487400000172       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B13        REP_NAME            Hardin, Robert      CALL_ADDRESS:        2400 Patterson St
                                                                                                         Nashville, TN 37203


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                    12/18/2003   CALL_ID          27781200000963       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B53        REP_NAME            Ross, Janet         CALL_ADDRESS:        2400 Patterson St
                                                                                                         Nashville, TN 37203


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES
 Quick Neurontin mention.


 CALL_DATE                      1/8/2004   CALL_ID          28487400000902       CALL_TYPE        Detail Only


 TERRITORY                  3NU22B13        REP_NAME            Hardin, Robert      CALL_ADDRESS:        2400 Patterson St
                                                                                                         Nashville, TN 37203

 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                     1/27/2004   CALL_ID          27781200001814       CALL_TYPE        Literature Drop Only


 TERRITORY                  3NU22B53        REP_NAME            Ross, Janet         CALL_ADDRESS:        2400 Patterson St
                                                                                                         Nashville, TN 37203


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES


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NAME                  Duncan, Kay                         SHERLOCK_SPECIALTY       NEU

PRESCRIBER_ID         62429000043532                      AMA_SPECIALTY            NPR



 CALL_DATE                        2/10/2004     CALL_ID               27781200002498       CALL_TYPE        Detail and Starter


 TERRITORY                    3NU22B53            REP_NAME                Ross, Janet         CALL_ADDRESS:        2400 Patterson St
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                       AE_NOTES                                         MI_NOTES
 L- she really likes the scored tabs and will use them to start
 F- cost savings for patients


 CALL_DATE                        2/19/2004     CALL_ID               28487400002070       CALL_TYPE        Detail Only


 TERRITORY                    3NU22B13            REP_NAME                Hardin, Robert      CALL_ADDRESS:        2400 Patterson St
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                       AE_NOTES                                         MI_NOTES



 CALL_DATE                        3/18/2004     CALL_ID               28487400002427       CALL_TYPE        Detail Only


 TERRITORY                    3NU22B13            REP_NAME                Hardin, Robert      CALL_ADDRESS:        2400 Patterson St
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                       AE_NOTES                                         MI_NOTES



 CALL_DATE                         4/1/2004     CALL_ID               28487400002622       CALL_TYPE        Detail and Starter


 TERRITORY                    3NU22B13            REP_NAME                Hardin, Robert      CALL_ADDRESS:        2400 Patterson St
                                                                                                                   Nashville, TN 37203

 CALL_NOTES                                                       AE_NOTES                                         MI_NOTES




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NAME                 Duncan, Kay                       SHERLOCK_SPECIALTY       NEU

PRESCRIBER_ID        62429000043532                    AMA_SPECIALTY            NPR



 CALL_DATE                       4/8/2004    CALL_ID               27781200003481       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B53            REP_NAME               Ross, Janet         CALL_ADDRESS:        2400 Patterson St
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 F- they need some tear sheets information for the Pfizer
 Share Card.


 CALL_DATE                      4/15/2004    CALL_ID               28487400002777       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B13            REP_NAME               Hardin, Robert      CALL_ADDRESS:        2400 Patterson St
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES



 CALL_DATE                      4/29/2004    CALL_ID               28487400002947       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B13            REP_NAME               Hardin, Robert      CALL_ADDRESS:        2400 Patterson St
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 L:Kay just got back from a Neurosurgical Nurses Meeting
 and siad that Neurontin was given great reviews

SAMPLES
   CALL_DATE          CALL_ID                         CODE                    FORMULATION                      QUANTITY
       6/20/2003 236485000023474                   7712          Neurontin 600mg x 3                                  36
       7/11/2003 253180000003078                   7712          Neurontin 600mg x 3                                  36
       7/11/2003 253180000003078                   7710          Neurontin 300mg x 3                                  60
      11/10/2003 284874000001720                   7710          Neurontin 300mg x 3                                  72
      11/10/2003 284874000001720                   7712          Neurontin 600mg x 3                                  72
      12/18/2003 277812000009634                   7713          Neurontin 800mg x 3                                  36
      12/18/2003 277812000009634                   7710          Neurontin 300mg x 3                                  18
       2/10/2004 277812000024986                   7713          Neurontin 800mg x 3                                  24
        4/1/2004 284874000026220                   7710          Neurontin 300mg x 3                                  36
        4/8/2004 277812000034814                   7715          Neurontin 100mg x 3                                  48
       4/15/2004 284874000027778                   7712          Neurontin 600mg x 3                                  72
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NAME              Duncan, Kay             SHERLOCK_SPECIALTY   NEU

PRESCRIBER_ID     62429000043532          AMA_SPECIALTY        NPR


   CALL_DATE          CALL_ID              CODE                  FORMULATION                    QUANTITY
       4/15/2004 284874000027778        7710        Neurontin 300mg x 3                                72
       4/29/2004 284874000029475        7698        Neurontin Scored Tabs 800mg x 3                    18
       4/29/2004 284874000029475        7710        Neurontin 300mg x 3                                72




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NAME              Hatchett, Angela           SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID     224002134                  AMA_SPECIALTY


SALES CALLS


 CALL_DATE                  3/28/2001   CALL_ID          224001070            CALL_TYPE        Detail and Starter


 TERRITORY              K1H12            REP_NAME            Pippin, Ashley      CALL_ADDRESS:        4230 Harding Road, Suite 709
                                                                                                      Nashville, TN 37205


 CALL_NOTES                                          AE_NOTES                                         MI_NOTES


SAMPLES
   CALL_DATE          CALL_ID                 CODE                  FORMULATION                      QUANTITY
       3/28/2001 224001070                 7712        Neurontin 600mg x 3 x 6 x 12                         48
       3/28/2001 224001070                 7710        Neurontin 300mg x 3 x 6 x 12                         48
       3/28/2001 224001070                 7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)              20




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NAME              Hatchett, Angela           SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID     23327612                   AMA_SPECIALTY             CCM


SALES CALLS


 CALL_DATE                   4/5/2002   CALL_ID          68998000020029       CALL_TYPE        Literature Drop Only


 TERRITORY              K1H12            REP_NAME            Pippin, Ashley      CALL_ADDRESS:       4230 Harding Road, Suite 709
                                                                                                     Nashville, TN 37205


 CALL_NOTES                                         AE_NOTES                                         MI_NOTES
                                                                                                     Please send any and all information concerning the use of
                                                                                                     Neurontin for neuropathic pain or diabetic neuropathy.

SAMPLES




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NAME                 HESTER, RAY                 SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID        23280339                    AMA_SPECIALTY             SNE


SALES CALLS


 CALL_DATE                      1/17/2002   CALL_ID          44390000000603       CALL_TYPE        Detail and Starter


 TERRITORY                 K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        4230 HARDING RD 709
                                                                                                          NASHVILLE, TN 37205


 CALL_NOTES                                              AE_NOTES                                         MI_NOTES



 CALL_DATE                      9/15/2003   CALL_ID          25318000005940       CALL_TYPE        Detail and Starter


 TERRITORY                 3NU11M13          REP_NAME            3NU11M13, Vacant    CALL_ADDRESS:        4230 Harding Pike
                                                                                                          Nashville, TN 37205


 CALL_NOTES                                              AE_NOTES                                         MI_NOTES
 Quick mention of Neurontin today.

SAMPLES

   CALL_DATE          CALL_ID                     CODE                  FORMULATION                      QUANTITY
       1/17/2002 44390000000603                7715        Neurontin 100mg x 3                                  42
       1/17/2002 44390000000603                7713        Neurontin 800mg x 3                                  30
       1/17/2002 44390000000603                7710        Neurontin 300mg x 3                                 144
       1/17/2002 44390000000603                7709        Neuronin 100mg x 10 Unidose                          20
       9/15/2003 253180000059407               7710        Neurontin 300mg x 3                                  72




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NAME              HESTER, RAY                SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID     32416300                   AMA_SPECIALTY


SALES CALLS


 CALL_DATE                   2/8/2000   CALL_ID          93119870             CALL_TYPE        Detail Only


 TERRITORY             PD                REP_NAME            N/A                 CALL_ADDRESS:        4230 HARDING RD 709
                                                                                                      NASHVILLE, TN 37205


 CALL_NOTES                                          AE_NOTES                                         MI_NOTES



 CALL_DATE                   8/1/2001   CALL_ID          224001488            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        4230 HARDING RD 709
                                                                                                      NASHVILLE, TN 37205


 CALL_NOTES                                          AE_NOTES                                         MI_NOTES


SAMPLES

   CALL_DATE          CALL_ID                 CODE                  FORMULATION                      QUANTITY
        8/1/2001 224001488                 7710        Neurontin 300mg x 3 x 6 x 12                        144
        8/1/2001 224001488                 7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)              40




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NAME                Krancer, Pam                     SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID       34744073                         AMA_SPECIALTY


SALES CALLS


 CALL_DATE                       2/9/2000   CALL_ID              93131389             CALL_TYPE        Detail and Starter


 TERRITORY                 PD                 REP_NAME               N/A                 CALL_ADDRESS:        2400 Patterson St. Suite 400
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                        MI_NOTES



 CALL_DATE                      3/16/2000   CALL_ID              93472276             CALL_TYPE        Detail and Starter


 TERRITORY                 PD                 REP_NAME               N/A                 CALL_ADDRESS:        2400 Patterson St. Suite 400
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                        MI_NOTES
 2/00-Doses the way Culclasure (pain spec) does; 600mg tid
 starting dose-well tol; Spoke w/ Culc-he mentioned that he
 tits to this level & will inform Pam


 CALL_DATE                      8/15/2000   CALL_ID              94685638             CALL_TYPE        Detail and Starter


 TERRITORY                 PD                 REP_NAME               N/A                 CALL_ADDRESS:        2400 Patterson St. Suite 400
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                        MI_NOTES



 CALL_DATE                      1/11/2001   CALL_ID              69602093             CALL_TYPE        Detail and Starter


 TERRITORY                 K1H12              REP_NAME               Pippin, Ashley      CALL_ADDRESS:        2400 Patterson St. Suite 400
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                        MI_NOTES




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NAME              Krancer, Pam               SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID     34744073                   AMA_SPECIALTY



 CALL_DATE                   9/4/2001   CALL_ID          224001588            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        2400 Patterson St. Suite 400
                                                                                                      Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                         MI_NOTES


SAMPLES

   CALL_DATE          CALL_ID                 CODE                  FORMULATION                      QUANTITY
        2/9/2000 93131389                  7710        Neurontin 300mg x 3 x 6 x 12                         12
       3/16/2000 93472276                  7712        Neurontin 600mg x 3 x 6 x 12                          4
       3/16/2000 93472276                  7710        Neurontin 300mg x 3 x 6 x 12                          8
       8/15/2000 94685638                  7713        Neurontin 800mg x 3 x 6 x 12                          3
       8/15/2000 94685638                  7712        Neurontin 600mg x 3 x 6 x 12                          3
       8/15/2000 94685638                  7710        Neurontin 300mg x 3 x 6 x 12                         12
       8/15/2000 94685638                  7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)               4
       1/11/2001 69602093                  7713        Neurontin 800mg x 3 x 6 x 12                         36
       1/11/2001 69602093                  7712        Neurontin 600mg x 3 x 6 x 12                         18
       1/11/2001 69602093                  7710        Neurontin 300mg x 3 x 6 x 12                         72
        9/4/2001 224001588                 7713        Neurontin 800mg x 3 x 6 x 12                         72
        9/4/2001 224001588                 7712        Neurontin 600mg x 3 x 6 x 12                         72
        9/4/2001 224001588                 7710        Neurontin 300mg x 3 x 6 x 12                        144
        9/4/2001 224001588                 7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)              30




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NAME                  Krancer, Pamela                   SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID         23316030                          AMA_SPECIALTY             NEU


SALES CALLS


 CALL_DATE                     10/24/2001     CALL_ID               20012000000147       CALL_TYPE        Detail and Starter


 TERRITORY                   K1H12               REP_NAME               Pippin, Ashley      CALL_ADDRESS:        2400 Patterson St, Suite 400
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                           MI_NOTES



 CALL_DATE                       1/21/2002    CALL_ID               46426000001040       CALL_TYPE        Detail and Starter


 TERRITORY                   K1H12               REP_NAME               Pippin, Ashley      CALL_ADDRESS:        2400 Patterson St, Suite 400
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                           MI_NOTES



 CALL_DATE                       5/13/2002    CALL_ID               68998000025868       CALL_TYPE        Detail and Starter


 TERRITORY                   K1H12               REP_NAME               Pippin, Ashley      CALL_ADDRESS:        2400 Patterson St, Suite 400
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                           MI_NOTES
 likes the 100s and 300s, probe into where she is using it,
 get help through her with other surgeons / / / /


 CALL_DATE                        7/8/2002    CALL_ID               68998000062960       CALL_TYPE        Detail and Starter


 TERRITORY                   K1H12               REP_NAME               Pippin, Ashley      CALL_ADDRESS:        2400 Patterson St, Suite 400
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                           MI_NOTES
 K1H12 / new indication, how high are they going, one
 sample closet????????????




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NAME                   Krancer, Pamela             SHERLOCK_SPECIALTY      SNE

PRESCRIBER_ID          23316030                    AMA_SPECIALTY           NEU



 CALL_DATE                         6/6/2003   CALL_ID          24309600000063     CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13          REP_NAME            3NU11M13, Vacant   CALL_ADDRESS:       2400 Patterson St, Ste 4
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                               AE_NOTES                                        MI_NOTES



 CALL_DATE                         6/6/2003   CALL_ID          23648500001489     CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13          REP_NAME            3NR11M13, Vacant   CALL_ADDRESS:       2400 Patterson St, Ste 4
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                               AE_NOTES                                        MI_NOTES



 CALL_DATE                        7/11/2003   CALL_ID          25318000000306     CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13          REP_NAME            3NU11M13, Vacant   CALL_ADDRESS:       2400 Patterson St, Ste 4
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                               AE_NOTES                                        MI_NOTES
 Pam loves Neurontin


 CALL_DATE                        7/18/2003   CALL_ID          23648500004822     CALL_TYPE        Literature Drop Only


 TERRITORY                   3NR11M13          REP_NAME            3NR11M13, Vacant   CALL_ADDRESS:       2400 Patterson St, Ste 4
                                                                                                          Nashville, TN 37203

 CALL_NOTES                                               AE_NOTES                                        MI_NOTES
 Pam was not seeing reps today.


 CALL_DATE                        7/29/2003   CALL_ID          23648500005736     CALL_TYPE        Literature Drop Only


 TERRITORY                   3NR11M13          REP_NAME            3NR11M13, Vacant   CALL_ADDRESS:       2400 Patterson St, Ste 4
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                               AE_NOTES                                        MI_NOTES
 Pam wasn't seeing reps today.

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NAME                  Krancer, Pamela                    SHERLOCK_SPECIALTY       SNE

PRESCRIBER_ID         23316030                           AMA_SPECIALTY            NEU



 CALL_DATE                          8/8/2003   CALL_ID               25318000002776       CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13            REP_NAME                3NU11M13, Vacant    CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                          MI_NOTES
 Pam says that Neurontin is the 1st line AED in their office.


 CALL_DATE                          9/2/2003   CALL_ID               25318000004805       CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13            REP_NAME                3NU11M13, Vacant    CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                          MI_NOTES
 Pam seems to be sold on the benefits of Neurontin and
 says it is 1st Line


 CALL_DATE                       10/7/2003     CALL_ID               23648500012036       CALL_TYPE        Literature Drop Only


 TERRITORY                   3NR11M13            REP_NAME                3NR11M13, Vacant    CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                     AE_NOTES                                          MI_NOTES
 They didn't need anything today.


 CALL_DATE                      11/10/2003     CALL_ID               28487400000174       CALL_TYPE        Detail Only


 TERRITORY                   3NU22B13            REP_NAME                Hardin, Robert      CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                                  Nashville, TN 37203

 CALL_NOTES                                                     AE_NOTES                                          MI_NOTES



 CALL_DATE                          1/8/2004   CALL_ID               28487400000904       CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B13            REP_NAME                Hardin, Robert      CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                                  Nashville, TN 37203

 CALL_NOTES                                                     AE_NOTES                                          MI_NOTES

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NAME                 Krancer, Pamela                  SHERLOCK_SPECIALTY       SNE

PRESCRIBER_ID        23316030                         AMA_SPECIALTY            NEU



 CALL_DATE                      1/16/2004   CALL_ID               27781200001514       CALL_TYPE        Detail and Starter


 TERRITORY                 3NU22B53           REP_NAME                Ross, Janet         CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                          MI_NOTES
 L- She loves Neurontin and wants more samples of the
 higher doses A- agreed to use the pt. assistance programs
 with pts. that have no insurance.


 CALL_DATE                      1/27/2004   CALL_ID               27781200001812       CALL_TYPE        Literature Drop Only


 TERRITORY                 3NU22B53           REP_NAME                Ross, Janet         CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                          MI_NOTES



 CALL_DATE                      2/19/2004   CALL_ID               28487400002071       CALL_TYPE        Detail and Starter


 TERRITORY                 3NU22B13           REP_NAME                Hardin, Robert      CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                          MI_NOTES



 CALL_DATE                       4/1/2004   CALL_ID               28487400002621       CALL_TYPE        Detail and Starter


 TERRITORY                 3NU22B13           REP_NAME                Hardin, Robert      CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                          MI_NOTES




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NAME                   Krancer, Pamela                SHERLOCK_SPECIALTY       SNE

PRESCRIBER_ID          23316030                       AMA_SPECIALTY            NEU



 CALL_DATE                        4/15/2004    CALL_ID            28487400002777       CALL_TYPE        Detail Only


 TERRITORY                    3NU22B13          REP_NAME              Hardin, Robert      CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                          MI_NOTES



 CALL_DATE                        4/29/2004    CALL_ID            28487400002948       CALL_TYPE        Detail Only


 TERRITORY                    3NU22B13          REP_NAME              Hardin, Robert      CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                          MI_NOTES
 L:Pam likes to push the dose of Neurontin to 1800 or more
 per day, likes split tabs


 CALL_DATE                        5/19/2004    CALL_ID            27781200004740       CALL_TYPE        Detail and Starter


 TERRITORY                    3NU22B53          REP_NAME              Ross, Janet         CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                          MI_NOTES
 L- they are really looking for the 600's.


 CALL_DATE                        5/28/2004    CALL_ID            27781200004974       CALL_TYPE        Literature Drop Only


 TERRITORY                    3NU22B53          REP_NAME              Ross, Janet         CALL_ADDRESS:        2400 Patterson St, Ste 4
                                                                                                               Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                          MI_NOTES




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NAME              Krancer, Pamela          SHERLOCK_SPECIALTY   SNE

PRESCRIBER_ID     23316030                 AMA_SPECIALTY        NEU

SAMPLES

   CALL_DATE          CALL_ID               CODE                  FORMULATION             QUANTITY
      10/24/2001 20012000000147          7710        Neurontin 300mg x 3                        288
       1/21/2002 46426000001040          7710        Neurontin 300mg x 3                        144
       5/13/2002 68998000025868          7715        Neurontin 100mg x 3                        144
       5/13/2002 68998000025868          7710        Neurontin 300mg x 3                        216
        7/8/2002 68998000062960          7710        Neurontin 300mg x 3                        144
        6/6/2003 243096000000632         7710        Neurontin 300mg x 3                         36
       7/11/2003 253180000003067         7710        Neurontin 300mg x 3                         72
       7/11/2003 253180000003067         7712        Neurontin 600mg x 3                         36
        8/8/2003 253180000027768         7710        Neurontin 300mg x 3                         72
        8/8/2003 253180000027768         7712        Neurontin 600mg x 3                         72
        9/2/2003 253180000048058         7710        Neurontin 300mg x 3                         72
        1/8/2004 284874000009045         7710        Neurontin 300mg x 3                        144
       1/16/2004 277812000015148         7710        Neurontin 300mg x 3                         24
       1/16/2004 277812000015148         7712        Neurontin 600mg x 3                         12
       1/16/2004 277812000015148         7713        Neurontin 800mg x 3                         36
       2/19/2004 284874000020719         7713        Neurontin 800mg x 3                         36
       2/19/2004 284874000020719         7715        Neurontin 100mg x 3                         72
        4/1/2004 284874000026212         7710        Neurontin 300mg x 3                         36
       5/19/2004 277812000047400         7710        Neurontin 300mg x 3                         18




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NAME              MATHEW S, DOUGLAS          SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID     32417966                   AMA_SPECIALTY


SALES CALLS


 CALL_DATE                   3/2/2001   CALL_ID          224000950            CALL_TYPE        Detail and Starter


 TERRITORY             K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        2400 Patterson St. Suite 123
                                                                                                      NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                         MI_NOTES


SAMPLES
   CALL_DATE          CALL_ID                 CODE                  FORMULATION                      QUANTITY
        3/2/2001 224000950                 7712        Neurontin 600mg x 3 x 6 x 12                         48
        3/2/2001 224000950                 7710        Neurontin 300mg x 3 x 6 x 12                        144




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NAME                 Mc Curry, Paul                     SHERLOCK_SPECIALTY      SNE

PRESCRIBER_ID        236485000007313                    AMA_SPECIALTY           ANS


SALES CALLS


 CALL_DATE                       5/30/2003    CALL_ID               23648500000802     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13            REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 New - Trained at UT Knoxville


 CALL_DATE                       6/20/2003    CALL_ID               23648500002345     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13            REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 Listened to more aggresive titration schedule with N


 CALL_DATE                       8/11/2003    CALL_ID               23648500007074     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13            REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 REally likes Neurontin and uses very high doses. Gave him
 a copy of Rice.


 CALL_DATE                       8/28/2003    CALL_ID               23648500008550     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13            REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 Neurontin cost discussion tabs vs. caps.




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NAME                Mc Curry, Paul                SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID       236485000007313               AMA_SPECIALTY             ANS



 CALL_DATE                       9/11/2003   CALL_ID          23648500009775          CALL_TYPE        Literature Drop Only


 TERRITORY                 3NR11M13           REP_NAME            3NR11M13, Vacant       CALL_ADDRESS:        1916 Patterson Street
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                              AE_NOTES                                             MI_NOTES
 He was in a procedure today.


 CALL_DATE                      10/31/2003   CALL_ID          28487400000080          CALL_TYPE        Detail and Starter


 TERRITORY                 3NU22B13           REP_NAME            Hardin, Robert         CALL_ADDRESS:        1916 Patterson Street
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                              AE_NOTES                                             MI_NOTES



 CALL_DATE                       2/14/2004   CALL_ID          28487400001945          CALL_TYPE        Detail and Starter


 TERRITORY                 3NU22B13           REP_NAME            Hardin, Robert         CALL_ADDRESS:        1805 W illiamson COurt
                                                                                                              Brentwood, TN 37027


 CALL_NOTES                                              AE_NOTES                                             MI_NOTES



 CALL_DATE                       2/16/2004   CALL_ID          27781200002616          CALL_TYPE        Literature Drop Only


 TERRITORY                 3NU22B53           REP_NAME            Ross, Janet            CALL_ADDRESS:        1916 Patterson Street
                                                                                                              Nashville, TN 37203

 CALL_NOTES                                              AE_NOTES                                             MI_NOTES



 CALL_DATE                       2/26/2004   CALL_ID          29125300002483          CALL_TYPE        Detail Only


 TERRITORY                 3PB16A16           REP_NAME            Mathis, Elizabeth      CALL_ADDRESS:        1805 W illiamson COurt
                                                                                                              Brentwood, TN 37027


 CALL_NOTES                                              AE_NOTES                                             MI_NOTES


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NAME              Mc Curry, Paul             SHERLOCK_SPECIALTY       SNE

PRESCRIBER_ID     236485000007313            AMA_SPECIALTY            ANS



 CALL_DATE                  3/12/2004   CALL_ID          28487400002307       CALL_TYPE        Detail Only


 TERRITORY              3NU22B13         REP_NAME            Hardin, Robert      CALL_ADDRESS:        1805 W illiamson COurt
                                                                                                      Brentwood, TN 37027


 CALL_NOTES                                          AE_NOTES                                         MI_NOTES



 CALL_DATE                  4/23/2004   CALL_ID          28487400002868       CALL_TYPE        Detail and Starter


 TERRITORY              3NU22B13         REP_NAME            Hardin, Robert      CALL_ADDRESS:        1805 W illiamson COurt
                                                                                                      Brentwood, TN 37027


 CALL_NOTES                                          AE_NOTES                                         MI_NOTES


SAMPLES
   CALL_DATE          CALL_ID                 CODE                  FORMULATION                      QUANTITY
       5/30/2003 236485000008028           7710        Neurontin 300mg x 3                                   6
       6/20/2003 236485000023451           7712        Neurontin 600mg x 3                                  18
       8/28/2003 236485000085504           7710        Neurontin 300mg x 3                                  36
      10/31/2003 284874000000807           7710        Neurontin 300mg x 3                                  72
       2/14/2004 284874000019454           7715        Neurontin 100mg x 3                                  12
       2/14/2004 284874000019454           7710        Neurontin 300mg x 3                                  36
       4/23/2004 284874000028689           7698        Neurontin Scored Tabs 800mg x 3                      36




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NAME              McCombs, Paul              SHERLOCK_SPECIALTY        SNE

PRESCRIBER_ID     109879956                  AMA_SPECIALTY             SNE


SALES CALLS


 CALL_DATE                  5/13/2002   CALL_ID          68998000068505        CALL_TYPE        Detail and Starter


 TERRITORY             K1H12             REP_NAME            Pippin, Ashley       CALL_ADDRESS:        2400 Patterson Street
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                  2/27/2003   CALL_ID          68998000187267        CALL_TYPE        Detail and Starter


 TERRITORY             K1H12             REP_NAME            Pippin, Ashley       CALL_ADDRESS:        2400 Patterson Street
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                  4/18/2003   CALL_ID          20922300001236        CALL_TYPE        Detail and Starter


 TERRITORY             3PB16A15          REP_NAME            Capasso, Regina      CALL_ADDRESS:        2400 Patterson St
                                                                                                       Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES


SAMPLES

   CALL_DATE          CALL_ID                 CODE                  FORMULATION                       QUANTITY
       5/13/2002 68998000068505            7713        Neurontin 800mg x 3                                   72
       5/13/2002 68998000068505            7710        Neurontin 300mg x 3                                  144
       2/27/2003 68998000187267            7710        Neurontin 300mg x 3                                  144
       4/18/2003 209223000012364           7712        Neurontin 600mg x 3                                   48
       4/18/2003 209223000012364           7710        Neurontin 300mg x 3                                   48




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NAME                  Schwab, George                         SHERLOCK_SPECIALTY      GSE

PRESCRIBER_ID         23338086                               AMA_SPECIALTY           FAP


SALES CALLS


 CALL_DATE                        5/30/2003    CALL_ID                   23648500000743     CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13             REP_NAME                   3NR11M13, Vacant   CALL_ADDRESS:       510 Hospital Dr Ste 240
                                                                                                                    Madison, TN 37115


 CALL_NOTES                                                        AE_NOTES                                         MI_NOTES



 CALL_DATE                        6/20/2003    CALL_ID                   23648500002340     CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13             REP_NAME                   3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                                    Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                         MI_NOTES



 CALL_DATE                        7/18/2003    CALL_ID                   23648500004837     CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13             REP_NAME                   3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                                    Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                         MI_NOTES
 Looking for Neu. 100's.


 CALL_DATE                        8/11/2003    CALL_ID                   23648500007072     CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13             REP_NAME                   3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                                    Nashville, TN 37203


 CALL_NOTES                                                        AE_NOTES                                         MI_NOTES
 W ants the 100's for elderly pts. or so he says - I'm not
 buying that.




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NAME                 Schwab, George                SHERLOCK_SPECIALTY      GSE

PRESCRIBER_ID        23338086                      AMA_SPECIALTY           FAP



 CALL_DATE                      8/28/2003     CALL_ID          23648500008543     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13            REP_NAME           3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                       MI_NOTES
 Committed to coming to the nurses meeting.


 CALL_DATE                      9/11/2003     CALL_ID          23648500009772     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13            REP_NAME           3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson Street
                                                                                                          Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                       MI_NOTES
 Said he would be a the next Nurses' meeting.

SAMPLES
   CALL_DATE          CALL_ID                       CODE                  FORMULATION                    QUANTITY
       5/30/2003 236485000007432                 7710        Neurontin 300mg x 3                                36
       6/20/2003 236485000023404                 7712        Neurontin 600mg x 3                                12
       7/18/2003 236485000048376                 7713        Neurontin 800mg x 3                                36
       7/18/2003 236485000048376                 7712        Neurontin 600mg x 3                                36
       8/28/2003 236485000085437                 7712        Neurontin 600mg x 3                                72
       9/11/2003 236485000097727                 7712        Neurontin 600mg x 3                                36




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NAME                 Scwab, George                SHERLOCK_SPECIALTY       FAP

PRESCRIBER_ID        277812000014750              AMA_SPECIALTY            FAP


SALES CALLS


 CALL_DATE                     1/15/2004     CALL_ID          27781200001476     CALL_TYPE        Detail Only


 TERRITORY                 3NU22B53           REP_NAME            Ross, Janet       CALL_ADDRESS:        1916 Patterson Street
                                                                                                         Nashville, TN 37203


 CALL_NOTES                                              AE_NOTES                                        MI_NOTES
 F- Neurontin patient assistance programs.

SAMPLES




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NAME              Shwab, George               SHERLOCK_SPECIALTY        PMD

PRESCRIBER_ID     23329391                    AMA_SPECIALTY             FAP


SALES CALLS


 CALL_DATE                    3/3/2003   CALL_ID          68998000191478        CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley       CALL_ADDRESS:        1916 Patterson Street
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                    4/7/2003   CALL_ID          68998000205431        CALL_TYPE        Detail and Starter


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley       CALL_ADDRESS:        1916 Patterson Street
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   4/17/2003   CALL_ID          68998000210604        CALL_TYPE        Detail Only


 TERRITORY             K1H12              REP_NAME            Pippin, Ashley       CALL_ADDRESS:        1916 Patterson Street
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   4/18/2003   CALL_ID          20922300001259        CALL_TYPE        Detail Only


 TERRITORY             3PB16A15           REP_NAME            Capasso, Regina      CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES




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NAME                 Shwab, George                  SHERLOCK_SPECIALTY       PMD

PRESCRIBER_ID        23329391                       AMA_SPECIALTY            FAP



 CALL_DATE                       5/5/2003      CALL_ID          20922300001885        CALL_TYPE        Detail and Starter


 TERRITORY                  3PB16A15             REP_NAME           Capasso, Regina      CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES



 CALL_DATE                      5/23/2003      CALL_ID          23611900000427        CALL_TYPE        Detail and Starter


 TERRITORY                  3NU11M13             REP_NAME           3NU11M13, Vacant     CALL_ADDRESS:        510 Hospital Dr Ste 150
                                                                                                              Madison, TN 37115


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES



 CALL_DATE                      7/11/2003      CALL_ID          25318000000296        CALL_TYPE        Detail Only


 TERRITORY                  3NU11M13             REP_NAME           3NU11M13, Vacant     CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES
 very busy


 CALL_DATE                      9/19/2003      CALL_ID          25318000006343        CALL_TYPE        Detail Only


 TERRITORY                  3NU11M13             REP_NAME           3NU11M13, Vacant     CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                              Nashville, TN 37203

 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES
 George says the Neurontin is his 1st line AED


 CALL_DATE                      9/30/2003      CALL_ID          25318000007134        CALL_TYPE        Detail and Starter


 TERRITORY                  3NU11M13             REP_NAME           3NU11M13, Vacant     CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES
 George says that he uses Neurontin 1st line

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NAME                Shwab, George                    SHERLOCK_SPECIALTY       PMD

PRESCRIBER_ID       23329391                         AMA_SPECIALTY            FAP



 CALL_DATE                     10/3/2003   CALL_ID               25318000007420        CALL_TYPE        Detail Only


 TERRITORY                 3NU11M13           REP_NAME               3NU11M13, Vacant     CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                            MI_NOTES
 George was about an hour behind and would not stop for
 anything today.


 CALL_DATE                   10/31/2003    CALL_ID               28487400000082        CALL_TYPE        Detail Only


 TERRITORY                 3NU22B13           REP_NAME               Hardin, Robert       CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                            MI_NOTES



 CALL_DATE                     12/4/2003   CALL_ID               20922300009671        CALL_TYPE        Detail Only


 TERRITORY                 3PB16A15           REP_NAME               Capasso, Regina      CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                AE_NOTES                                            MI_NOTES



 CALL_DATE                      1/8/2004   CALL_ID               28487400000897        CALL_TYPE        Detail and Starter


 TERRITORY                 3NU22B13           REP_NAME               Hardin, Robert       CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203

 CALL_NOTES                                                AE_NOTES                                            MI_NOTES



 CALL_DATE                     1/12/2004   CALL_ID               20922300010718        CALL_TYPE        Detail and Starter


 TERRITORY                 3PB16A15           REP_NAME               Capasso, Regina      CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203

 CALL_NOTES                                                AE_NOTES                                            MI_NOTES

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NAME                    Shwab, George                       SHERLOCK_SPECIALTY       PMD

PRESCRIBER_ID           23329391                            AMA_SPECIALTY            FAP



 CALL_DATE                          1/30/2004    CALL_ID                27781200001922     CALL_TYPE        Detail and Starter


 TERRITORY                     3NU22B53             REP_NAME                Ross, Janet       CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                       AE_NOTES                                         MI_NOTES
 L- Amanda is changing the computer generated scripts to
 tabs.


 CALL_DATE                          2/10/2004    CALL_ID                27781200002496     CALL_TYPE        Detail Only


 TERRITORY                     3NU22B53             REP_NAME                Ross, Janet       CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                       AE_NOTES                                         MI_NOTES
 L- reminded about the scored tabs and he said he's going to
 start with them first.


 CALL_DATE                          2/27/2004    CALL_ID                27781200002823     CALL_TYPE        Detail and Starter


 TERRITORY                     3NU22B53             REP_NAME                Ross, Janet       CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                       AE_NOTES                                         MI_NOTES
 L- he still likes the 100's A- said he'd try the split tabs F-
 get him to push the dose


 CALL_DATE                          3/12/2004    CALL_ID                27781200003047     CALL_TYPE        Detail and Starter


 TERRITORY                     3NU22B53             REP_NAME                Ross, Janet       CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                                   Nashville, TN 37203


 CALL_NOTES                                                       AE_NOTES                                         MI_NOTES
 L- uses Neurontin first line for all pts.




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NAME                  Shwab, George                   SHERLOCK_SPECIALTY       PMD

PRESCRIBER_ID         23329391                        AMA_SPECIALTY            FAP



 CALL_DATE                       3/18/2004     CALL_ID            28487400002425       CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B13              REP_NAME           Hardin, Robert      CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES



 CALL_DATE                       3/25/2004     CALL_ID            27781200003298       CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B53              REP_NAME           Ross, Janet         CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 L- seems to be more aware of pushing the dose with Neu.


 CALL_DATE                        4/1/2004     CALL_ID            28487400002616       CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B13              REP_NAME           Hardin, Robert      CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES



 CALL_DATE                       4/23/2004     CALL_ID            27781200003858       CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B53              REP_NAME           Ross, Janet         CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203

 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES



 CALL_DATE                        5/7/2004     CALL_ID            27781200004209       CALL_TYPE        Detail Only


 TERRITORY                   3NU22B53              REP_NAME           Ross, Janet         CALL_ADDRESS:        1916 Patterson St., Suite 101
                                                                                                               Nashville, TN 37203


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 A- has agreed to push the dose a little higher.

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NAME              Shwab, George               SHERLOCK_SPECIALTY       PMD

PRESCRIBER_ID     23329391                    AMA_SPECIALTY            FAP



 CALL_DATE                   5/19/2004   CALL_ID          27781200004737     CALL_TYPE         Detail and Starter


 TERRITORY             3NU22B53           REP_NAME            Ross, Janet       CALL_ADDRESS:         1916 Patterson St., Suite 101
                                                                                                      Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                        MI_NOTES


SAMPLES

   CALL_DATE          CALL_ID                  CODE                  FORMULATION                     QUANTITY
        3/3/2003 68998000191478             7712        Neurontin 600mg x 3                                 72
        3/3/2003 68998000191478             7710        Neurontin 300mg x 3                                 72
        4/7/2003 68998000205431             7713        Neurontin 800mg x 3                                 72
        4/7/2003 68998000205431             7710        Neurontin 300mg x 3                                 72
        5/5/2003 209223000018857            7710        Neurontin 300mg x 3                                 72
        5/5/2003 209223000018857            7713        Neurontin 800mg x 3                                 72
        5/5/2003 209223000018857            7712        Neurontin 600mg x 3                                 48
       5/23/2003 236119000004273            7712        Neurontin 600mg x 3                                 72
       5/23/2003 236119000004273            7710        Neurontin 300mg x 3                                 72
       9/30/2003 253180000071348            7710        Neurontin 300mg x 3                                 72
        1/8/2004 284874000008971            7712        Neurontin 600mg x 3                                 36
        1/8/2004 284874000008971            7710        Neurontin 300mg x 3                                 72
       1/30/2004 277812000019225            7715        Neurontin 100mg x 3                                  6
       1/30/2004 277812000019225            7712        Neurontin 600mg x 3                                 24
       2/27/2004 277812000028233            7715        Neurontin 100mg x 3                                 48
       2/27/2004 277812000028233            7710        Neurontin 300mg x 3                                 48
       3/12/2004 277812000030474            7698        Neurontin Scored Tabs 800mg x 3                     24
       3/18/2004 284874000024253            7710        Neurontin 300mg x 3                                 72
       3/25/2004 277812000032988            7710        Neurontin 300mg x 3                                 60
        4/1/2004 284874000026160            7710        Neurontin 300mg x 3                                 72
       4/23/2004 277812000038580            7713        Neurontin 800mg x 3                                 36
       4/23/2004 277812000038580            7712        Neurontin 600mg x 3                                 24
       5/19/2004 277812000047378            7710        Neurontin 300mg x 3                                  6




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NAME              W ebber, Kari               SHERLOCK_SPECIALTY        ANS

PRESCRIBER_ID     23294552                    AMA_SPECIALTY             ANS


SALES CALLS


 CALL_DATE                   8/21/2002   CALL_ID          68998000095452       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                  10/23/2002   CALL_ID          68998000125169       CALL_TYPE        Literature Drop Only


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                  10/30/2002   CALL_ID          68998000129049       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                  11/22/2002   CALL_ID          68998000140046       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES




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NAME              W ebber, Kari               SHERLOCK_SPECIALTY        ANS

PRESCRIBER_ID     23294552                    AMA_SPECIALTY             ANS



 CALL_DATE                  12/18/2002   CALL_ID          68998000150315       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                    1/8/2003   CALL_ID          68998000161206       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                   1/20/2003   CALL_ID          68998000167941       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                    2/5/2003   CALL_ID          68998000176043       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203

 CALL_NOTES                                          AE_NOTES                                          MI_NOTES



 CALL_DATE                   2/19/2003   CALL_ID          68998000184118       CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley      CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                       NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                          MI_NOTES


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NAME              W ebber, Kari               SHERLOCK_SPECIALTY        ANS

PRESCRIBER_ID     23294552                    AMA_SPECIALTY             ANS



 CALL_DATE                   3/20/2003   CALL_ID          68998000199334        CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley       CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                        NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   4/17/2003   CALL_ID          68998000210551        CALL_TYPE        Detail and Starter


 TERRITORY              K1H12             REP_NAME            Pippin, Ashley       CALL_ADDRESS:        1916 PATTERSON ST
                                                                                                        NASHVILLE, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   4/18/2003   CALL_ID          20922300001266        CALL_TYPE        Detail and Starter


 TERRITORY              3PB16A15          REP_NAME            Capasso, Regina      CALL_ADDRESS:        1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   5/30/2003   CALL_ID          23648500000740        CALL_TYPE        Detail and Starter


 TERRITORY              3NR11M13          REP_NAME            3NR11M13, Vacant     CALL_ADDRESS:        1916 Patterson St
                                                                                                        Nashville, TN 37203

 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   7/11/2003   CALL_ID          25318000000294        CALL_TYPE        Detail and Starter


 TERRITORY              3NU11M13          REP_NAME            3NU11M13, Vacant     CALL_ADDRESS:        1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES
 Very nice

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NAME                 W ebber, Kari                     SHERLOCK_SPECIALTY      ANS

PRESCRIBER_ID        23294552                          AMA_SPECIALTY           ANS



 CALL_DATE                      7/18/2003    CALL_ID               23648500004833     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13           REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Needs to push the dose of Neu. more


 CALL_DATE                      7/24/2003    CALL_ID               25318100000008     CALL_TYPE        Detail Only


 TERRITORY                  3NU11M13           REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:       1916 Patterson St
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Doing procedures today


 CALL_DATE                       8/5/2003    CALL_ID               23648500006388     CALL_TYPE        Detail Only


 TERRITORY                  3NR11M13           REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St
                                                                                                              Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Quick Neurontin mention.


 CALL_DATE                      8/11/2003    CALL_ID               23648500007063     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13           REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St
                                                                                                              Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Showed the Rice study - she doesn't hesitate to push dose
 at all.


 CALL_DATE                      8/28/2003    CALL_ID               23648500008548     CALL_TYPE        Detail and Starter


 TERRITORY                  3NR11M13           REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St
                                                                                                              Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Neurontin discussion about cost and pt. assistance.
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NAME                   W ebber, Kari                       SHERLOCK_SPECIALTY      ANS

PRESCRIBER_ID          23294552                            AMA_SPECIALTY           ANS



 CALL_DATE                           9/9/2003     CALL_ID              23648500009576     CALL_TYPE        Detail Only


 TERRITORY                     3NR11M13              REP_NAME              3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 Relpax program and discussion afterwards.


 CALL_DATE                         9/11/2003      CALL_ID              23648500009770     CALL_TYPE        Detail and Starter


 TERRITORY                     3NR11M13              REP_NAME              3NR11M13, Vacant   CALL_ADDRESS:       1916 Patterson St
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 She was very appreciative of the pads. They were heading
 to Fleming's to hear Charatol talk about Gabatril. She
 laughed and said she never had used it.


 CALL_DATE                         9/19/2003      CALL_ID              25318000006343     CALL_TYPE        Detail Only


 TERRITORY                     3NU11M13              REP_NAME              3NU11M13, Vacant   CALL_ADDRESS:       1916 Patterson St
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 Kari states that Neurontin is 1st line for all patients


 CALL_DATE                         10/5/2003      CALL_ID              25318000007418     CALL_TYPE        Detail and Starter


 TERRITORY                     3NU11M13              REP_NAME              3NU11M13, Vacant   CALL_ADDRESS:       1916 Patterson St
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 Kari says that Neurontin is 1st line for her patients.




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NAME              W ebber, Kari               SHERLOCK_SPECIALTY       ANS

PRESCRIBER_ID     23294552                    AMA_SPECIALTY            ANS



 CALL_DATE                  10/24/2003   CALL_ID          23648500013769        CALL_TYPE        Detail and Starter


 TERRITORY              3NR11M13          REP_NAME            3NR11M13, Vacant     CALL_ADDRESS:        1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                  10/31/2003   CALL_ID          28487400000081        CALL_TYPE        Detail Only


 TERRITORY              3NU22B13          REP_NAME            Hardin, Robert       CALL_ADDRESS:        1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   12/4/2003   CALL_ID          20922300009676        CALL_TYPE        Detail and Starter


 TERRITORY              3PB16A15          REP_NAME            Capasso, Regina      CALL_ADDRESS:        1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                    1/8/2004   CALL_ID          28487500000007        CALL_TYPE        Detail and Starter


 TERRITORY              3NU22B13          REP_NAME            Hardin, Robert       CALL_ADDRESS:        1916 Patterson St
                                                                                                        Nashville, TN 37203

 CALL_NOTES                                          AE_NOTES                                           MI_NOTES



 CALL_DATE                   1/12/2004   CALL_ID          20922300010712        CALL_TYPE        Detail and Starter


 TERRITORY              3PB16A15          REP_NAME            Capasso, Regina      CALL_ADDRESS:        1916 Patterson St
                                                                                                        Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                           MI_NOTES


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NAME                  W ebber, Kari                    SHERLOCK_SPECIALTY       ANS

PRESCRIBER_ID         23294552                         AMA_SPECIALTY            ANS



 CALL_DATE                       1/30/2004     CALL_ID             27781200001925        CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B53           REP_NAME               Ross, Janet          CALL_ADDRESS:        1916 Patterson St
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                            MI_NOTES
 L- she had heard about the split tabs and said she'd use
 them for titrating purposes.


 CALL_DATE                       2/10/2004     CALL_ID             27781200002503        CALL_TYPE        Detail Only


 TERRITORY                   3NU22B53           REP_NAME               Ross, Janet          CALL_ADDRESS:        1916 Patterson St
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                            MI_NOTES



 CALL_DATE                       2/27/2004     CALL_ID             27781200002827        CALL_TYPE        Literature Drop Only


 TERRITORY                   3NU22B53           REP_NAME               Ross, Janet          CALL_ADDRESS:        1916 Patterson St
                                                                                                                 Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                            MI_NOTES



 CALL_DATE                         3/8/2004    CALL_ID             31895700000039        CALL_TYPE        Detail and Starter


 TERRITORY                   3PB16A15           REP_NAME               Capasso, Regina      CALL_ADDRESS:        1916 Patterson St
                                                                                                                 Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                            MI_NOTES



 CALL_DATE                       3/12/2004     CALL_ID             27781200003051        CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B53           REP_NAME               Ross, Janet          CALL_ADDRESS:        1916 Patterson St
                                                                                                                 Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                            MI_NOTES
 L - she uses Neurontin first line always.
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NAME                    W ebber, Kari                 SHERLOCK_SPECIALTY       ANS

PRESCRIBER_ID           23294552                      AMA_SPECIALTY            ANS



 CALL_DATE                          3/24/2004    CALL_ID          31895700000272        CALL_TYPE        Detail and Starter


 TERRITORY                      3PB16A15          REP_NAME            Capasso, Regina      CALL_ADDRESS:        1916 Patterson St
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES



 CALL_DATE                          3/25/2004    CALL_ID          27781200003294        CALL_TYPE        Detail Only


 TERRITORY                      3NU22B53          REP_NAME            Ross, Janet          CALL_ADDRESS:        1916 Patterson St
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES



 CALL_DATE                            4/1/2004   CALL_ID          28487400002616        CALL_TYPE        Detail Only


 TERRITORY                      3NU22B13          REP_NAME            Hardin, Robert       CALL_ADDRESS:        1916 Patterson St
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES



 CALL_DATE                            4/9/2004   CALL_ID          27781200003518        CALL_TYPE        Detail Only


 TERRITORY                      3NU22B53          REP_NAME            Ross, Janet          CALL_ADDRESS:        1916 Patterson St
                                                                                                                Nashville, TN 37203

 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES
 L - she's really liking the split tabs


 CALL_DATE                          4/23/2004    CALL_ID          27781200003856        CALL_TYPE        Detail Only


 TERRITORY                      3NU22B53          REP_NAME            Ross, Janet          CALL_ADDRESS:        1916 Patterson St
                                                                                                                Nashville, TN 37203


 CALL_NOTES                                                  AE_NOTES                                           MI_NOTES


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NAME                  W ebber, Kari                        SHERLOCK_SPECIALTY       ANS

PRESCRIBER_ID         23294552                             AMA_SPECIALTY            ANS



 CALL_DATE                         5/7/2004     CALL_ID                27781200004213     CALL_TYPE        Detail and Starter


 TERRITORY                    3NU22B53             REP_NAME                Ross, Janet       CALL_ADDRESS:        1916 Patterson St
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 A- really likes the split tabs and has been writing for them.


 CALL_DATE                        5/19/2004     CALL_ID                27781200004753     CALL_TYPE        Detail and Starter


 TERRITORY                    3NU22B53             REP_NAME                Ross, Janet       CALL_ADDRESS:        1916 Patterson St
                                                                                                                  Nashville, TN 37203


 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 L- she really likes the new scored tabs of 600 and is using
 them to start.

SAMPLES
   CALL_DATE          CALL_ID                            CODE                     FORMULATION                    QUANTITY
       8/21/2002 68998000095452                       7715           Neurontin 100mg x 3                                72
       8/21/2002 68998000095452                       7713           Neurontin 800mg x 3                                72
       8/21/2002 68998000095452                       7710           Neurontin 300mg x 3                               144
      10/30/2002 68998000129049                       7715           Neurontin 100mg x 3                                72
      11/22/2002 68998000140046                       7710           Neurontin 300mg x 3                                72
      12/18/2002 68998000150315                       7710           Neurontin 300mg x 3                               144
        1/8/2003 68998000161206                       7713           Neurontin 800mg x 3                                72
       1/20/2003 68998000167941                       7710           Neurontin 300mg x 3                                72
        2/5/2003 68998000176043                       7712           Neurontin 600mg x 3                                72
        2/5/2003 68998000176043                       7710           Neurontin 300mg x 3                                72
       2/19/2003 68998000184118                       7710           Neurontin 300mg x 3                                72
       3/20/2003 68998000199334                       7710           Neurontin 300mg x 3                               144
       4/18/2003 209223000012661                      7710           Neurontin 300mg x 3                                72
       4/18/2003 209223000012661                      7712           Neurontin 600mg x 3                                72
       5/30/2003 236485000007407                      7710           Neurontin 300mg x 3                                36
       7/11/2003 253180000002940                      7713           Neurontin 800mg x 3                                72
       7/11/2003 253180000002940                      7710           Neurontin 300mg x 3                                72
       7/18/2003 236485000048339                      7710           Neurontin 300mg x 3                                48

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NAME              W ebber, Kari          SHERLOCK_SPECIALTY   ANS

PRESCRIBER_ID     23294552               AMA_SPECIALTY        ANS


   CALL_DATE          CALL_ID             CODE                  FORMULATION                    QUANTITY
       8/28/2003 236485000085481       7712        Neurontin 600mg x 3                                72
       9/11/2003 236485000097704       7712        Neurontin 600mg x 3                                36
       10/5/2003 253180000074187       7715        Neurontin 100mg x 3                                72
       10/5/2003 253180000074187       7710        Neurontin 300mg x 3                                72
      10/24/2003 236485000137692       7715        Neurontin 100mg x 3                                72
      10/24/2003 236485000137692       7710        Neurontin 300mg x 3                                72
       12/4/2003 209223000096760       7712        Neurontin 600mg x 3                                18
       12/4/2003 209223000096760       7710        Neurontin 300mg x 3                                36
        1/8/2004 284875000000078       7713        Neurontin 800mg x 3                                72
        1/8/2004 284875000000078       7710        Neurontin 300mg x 3                               144
       1/12/2004 209223000107123       7710        Neurontin 300mg x 3                                54
       1/30/2004 277812000019250       7713        Neurontin 800mg x 3                                24
        3/8/2004 318957000000396       7695        Neurontin Scored Tabs 600mg x 3                    36
        3/8/2004 318957000000396       7710        Neurontin 300mg x 3                                36
       3/12/2004 277812000030518       7698        Neurontin Scored Tabs 800mg x 3                    12
       3/12/2004 277812000030518       7695        Neurontin Scored Tabs 600mg x 3                    36
       3/24/2004 318957000002721       7712        Neurontin 600mg x 3                                72
       3/24/2004 318957000002721       7710        Neurontin 300mg x 3                                72
        5/7/2004 277812000042136       7710        Neurontin 300mg x 3                                36
       5/19/2004 277812000047538       7715        Neurontin 100mg x 3                                 6




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NAME              W ebber, Kari               SHERLOCK_SPECIALTY     SNE

PRESCRIBER_ID     34744081                    AMA_SPECIALTY


SALES CALLS


 CALL_DATE                   3/15/2000   CALL_ID          93460062         CALL_TYPE        Detail Only


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   4/11/2000   CALL_ID          93692485         CALL_TYPE        Detail Only


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   4/13/2000   CALL_ID          93719806         CALL_TYPE        Detail Only


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES



 CALL_DATE                   6/15/2000   CALL_ID          94222052         CALL_TYPE        Detail and Starter


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                          AE_NOTES                                      MI_NOTES




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                                     Case 1:04-cv-10981-PBS Document 1679-14 Filed 02/23/09 Page 95 of 95

NAME              W ebber, Kari               SHERLOCK_SPECIALTY     SNE

PRESCRIBER_ID     34744081                    AMA_SPECIALTY



 CALL_DATE                   8/24/2000   CALL_ID          94808198         CALL_TYPE        Detail Only


 TERRITORY              PD                REP_NAME            N/A             CALL_ADDRESS:        1916 Patterson St
                                                                                                   Nashville, TN 37203


 CALL_NOTES                                           AE_NOTES                                     MI_NOTES


SAMPLES

   CALL_DATE          CALL_ID                  CODE                  FORMULATION                  QUANTITY
       6/15/2000 94222052                   7713        Neurontin 800mg x 3 x 6 x 12                      2
       6/15/2000 94222052                   7712        Neurontin 600mg x 3 x 6 x 12                      2
       6/15/2000 94222052                   7710        Neurontin 300mg x 3 x 6 x 12                      7




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